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                  EXHIBIT A
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                        ENVISION MANAGEMENT HOLDING, INC.
                         EMPLOYEE STOCK OWNERSHIP PLAN

        THIS INDENTURE is made as of December 19, 2017, by ENVISION MANAGEMENT
 HOLDING, INC., a corporation organized and existing under the laws of the State of Delaware
 (hereinafter called the "Primary Sponsor").

                                      W I T N E S S E T H:

         WHEREAS, Envision Management LLC established the Envision Management LLC
 Profit Sharing Plan, effective as of January 1, 2017;

        WHEREAS, pursuant to a transaction which was consummated on September 1, 2017,
 Envision Management LLC became a wholly-owned subsidiary of the Primary Sponsor; and

       WHEREAS, the Plan was assigned to the Primary Sponsor by Envision Management
 LLC and the Primary Sponsor now desires to amend and restate the Plan as the Envision
 Management Holding, Inc. Employee Stock Ownership Plan (the "Plan"), an employee stock
 ownership plan within the meaning of Section 497 5(e)(7) of the Code.

         NOW, THEREFORE, the Primary Sponsor does hereby amend and restate the Plan,
 effective as of September 1, 20.17, except where otherwise provided herein, to read as follows:
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                                 ENVISION MANAGEMENT HOLDING, INC.
                                  EMPLOYEE STOCK OWNERSHIP PLAN

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                                          SECTION 1
                                         DEFINITIONS

         Wherever used herein, the masculine pronoun shall be deemed to include the feminine,
  and the singular to include the plural, unless the context clearly indicates otherwise, and the
  following words and phrases shall, when used herein, have the meanings set forth below:

        1.1    "Account" means a Participant's aggregate balance in the following accounts (and
 such subac.counts as the Plan Administrator deems necessary or appropriate in connection with
 the maintenance of such accounts), as adjusted pursuant to the Plan as of any given date:

               (a)     "ESOP Account" which shall reflect a Participant's interest in Company
        Stock and other assets resulting from contributions made by a Plan Sponsor under
        Section 3 .1 of the Plan or from releases of Company Stock from the Loan Suspense
        Account. The ESOP Account of Participants shall contain an Envision Management
        LLC Subaccount which shall reflect the Participants' interest in the portion of the
        contribution made pursuant to Section 3.1 for the 201 7 Plan Year accrued by Envision
        Management LLC.

                (b)    "Loan Suspense Account" which shall consist of Company Stock acquired
        by the Fund with the proceeds of an Acquisition Loan, which Company Stock has not
        been allocated to the ESOP Accounts of Participants.

          Each Account shall consist of a Company Stock Subaccount and an Other Investment
  Subaccount. The Plan Administrator shall allocate the interest of a Participant in any funds
  transferred to the Plan pursuant to the merger of another tax-qualified retirement plan with the
  Plan among the above accounts as the Plan Administrator determines best reflects the interest
  of the Participant.

         1.2     "Acquisition Loan" means a loan (or other extension of credit) made to the Plan
 by or subject to a Guarantee by a person described in Code Section 4975(e)(2), including a direct
 loan of cash, a purchase-money transaction, and an assumption of an obligation of the Plan, used
 by the Trustee to finance the acquisition of Company Stock or to repay any Acquisition Loan, as
 further set forth in Section 5.1 of the Plan.

         1.3     "Affiliate" means: (a) any corporation which is a member of the same controlled
 group of corporations (within the meaning of Code Section 414(b)) as is a Plan Sponsor; (b) any
 other trade or business (whether or not incorporated) under common control (within the meaning
 of Code Section 414(c)) with a Plan Sponsor; (c) any other corporation, partnership, or other
 organization which is a member of an affiliated service group (within the meaning of Code
 Section 414(m)) with a Plan Sponsor; or (d) any other entity required to be aggregated with a
 Plan Sponsor pursuant to regulations under Code Section 414(0). Notwithstanding the
 foregoing, for purposes of applying the limitations set forth in Appendix A and for purposes of
 determining Annual Compensation under Appendix A, the references to Code Sections 414(b)
 and (c) above shall be as modified by Code Section 415(h).

        1.4    "Annual Compensation" means wages within the meaning of Code Section
 340l(a) (for purposes of income tax withholding at the source) paid to an Employee by a Plan


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 Sponsor (and Affiliates for purposes of Appendices A, B and C) during a Plan Year and all other
 payments of compensation to an Employee for which a Plan Sponsor is required to furnish the
 Employee a written statement under Code Section 6041(d), 605l(a)(3) and 6052 (but without
 regard to any rules that limit the remuneration included in wages based on the nature or location
 of the employment or the services performed, such as the exception for agricultural labor in Code
 Section 3401(a)(2)), to the extent not in excess of the Annual Compensation Limit for all
 purposes under the Plan except determining key employees under Appendix B. Notwithstanding
 the above, Annual Compensation shall be determined as follows:

                (a)    in determining with respect to each .Plan Sponsor the amount of
         contributions made under Plan Section 3 and allocations under Plan Section 4, Annual
         Compensation shall exclude reimbursements or other expense allowances, fringe benefits
         (cash and noncash), moving expenses, deferred compensation and welfare benefits;

                (b)     for all purposes under the Plan, Annual Compensation shall include any
         amount which would have been paid during a Plan Year, but was contributed by a Plan
         Sponsor on behalf of an Employee pursuant to a salary reduction agreement which is not
         includable in the gross income of the Employee under Code Section 125, 132(±)(4),
         402(g)(3), or 457;

                 (c)     for Plan Years beginning after December 31, 2017, Annual Compensation
         shall only include wages paid while such Employee is a Participant; and

                 (d)     for all purposes under the Plan, Annual Compensation shall include
         payments to an individual who does not currently perform services for a Plan Sponsor by
         reason of qualified military service (within the meaning of Code Section 414(u)(5)) to the
         extent those payments do not exceed the amounts the individual would have received if
         the individual had continued to perform services for a Plan Sponsor rather than entering
         qualified military service.

         1.5    "Annual Compensation Limit" means $270,000, or such amount as adjusted in
  subsequent Plan Years under Code Section 40l(a)(l 7) based in changes in the cost of living as
  announced by the Secretary of the Treasury.

         1.6     "Beneficiary" means the person or trust that a Participant designated most
 recently in writing to the Plan Administrator. However, upon the Participant's divorce, if the
 former Spouse was designated as the Participant's beneficiary, that designation shall become null
 and void. If the Participant has failed to make a designation, no person designated is alive, no
 trust has been established, or no successor Beneficiary has been designated who is alive, the term
 "Beneficiary" means (a) the deceased Participant's Spouse or (b) if no Spouse is alive, the
 deceased Participant's surviving children, or (c) if no children are alive, the deceased
 Participant's parent or parents, or (d) if no parent is alive, the legal representative of the deceased
 Participant's estate. Notwithstanding the preceding sentence, the Spouse of a married Participant
 shall be his Beneficiary unless that Spouse has consented in writing to the designation by the
 Participant of some other person or trust and the Spouse's consent acknowledges the effect of the
 designation and is witnessed by a notary public. A Participant may change his designation at any
 time. However, a Participant may not change his designation without further consent of his


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  Spouse under the terms of the preceding sentence unless the Spouse's consent permits
  designation of another person or trust without further spousal consent and acknowledges that the
  Spouse has the right to limit consent to a specific beneficiary and that the Spouse voluntarily
  relinquishes this right. Notwithstanding the above, the Spouse's consent shall not be required if
  the Participant establishes to the satisfaction of the Plan Administrator that the Spouse cannot be
  located, if the Participant has a court order indicating that he is legally separated or has been
  abandoned (within the meaning of local law) unless a "qualified domestic relations order" (as
  defined in Code Section 414(p)) provides otherwise, or if there are other circumstances as the
  Secretary of the Treasury prescribes. If the Spouse is legally incompetent to give consent,
  consent by the Spouse's legal guardian shall be deemed to be consent by the Spouse. If,
  subsequent to the death of a Participant, the Participant's Beneficiary dies while entitled to
  receive benefits under the Plan, benefits under the Plan will be paid to the successor Beneficiary,
· if any, or the Beneficiary listed under Subsection (a), (b), (c), or (d) as applicable.

         1.7    "Board of Directors" means the Board of Directors of the Primary Sponsor.

       1.8     "Break in Service" means the failure of an Employee, in connection with a
 Te1mination of Employment, to complete more than 500 Hours of Service in any Plan Year.

         1.9     "Code" means the Internal Revenue Code of 1986, as amended, and the
 regulations issued thereunder.

         1.10 "Company Stock" means qualifying employer securities within the meaning of
  Code Section 4975(e)(8) which are: (a) shares of common stock issued by the Primary Sponsor
 or a corporation which is a member of a controlled group of corporations which includes the
 Primary Sponsor (within the meaning of Code Section 1563(a), determined without regard to
 Code Sections 1563(a)(4) and (e)(3)(C)), which are readily tradable on an established securities
 market or, if there is no such common stock, shares of common stock issued by the Primary
 .Sponsor or a corporation which is a member of a controlled group of corporations which
 includes the Primary Sponsor (within the meaning of Code Section 1563(a), determined without
 regard to Code Sections 1563(a)(4) and (e)(3)(C)), which have voting power and dividend rights
 no less favorable than the voting power and dividend rights of any other common stock issued by
 the Primary Sponsor or the other corporation; or (b) shares of noncallable preferred stock issued
 by the Primary Sponsor, which are at all times immediately convertible into stock described in
 (a) above at a reasonable conversion price.

         1.11 "Company Stock Subaccount" means that portion of each Account in the Plan
 which is invested in Company Stock. The balance of a Company Stock Subaccount shall be
 expressed in terms of whole shares and, if applicable, fractional shares of Company Stock and
 shall be adjusted pursuant to the Plan to reflect any change in the number of shares of Company
 Stock attributable to the Company Stock Subaccount.

         1.12 "Direct Rollover" means a payment by the Plan to an Eligible Retirement Plan
 specified by the Distributee.

          1.13 "Disability" means a Participant is permanently and totally disabled such that he
 is entitled to receive disability benefits under the terms of a long-term disability plan maintained


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 by a Plan Sponsor in which the Participant participates or entitled to receive disability retirement
 benefits under the federal Social Security Act.

         1.14 "Distributee" means an Employee or former Employee. In addition, the
 Employee's or former Employee's surviving Spouse and the Employee's or former Employee's
 Spouse or former Spouse who is the alternate payee under a qualified domestic relations order
 (as defined in Code Section 414(p)), are Distributees with regard to the interest of the Spouse or
 former Spouse. A non-Spouse Beneficiary of a deceased Participant who is either an individual
 or an irrevocable trust, where the beneficiaries of such trust are identifiable and the trustee
 provides the Plan Administrator with a final list of trust beneficiaries or a copy of the trust
 document by October 31 of the year following the Participant's death, shall be a Distributee with
 regard to the interest of the deceased Participant, but only if the Eligible Rollover Distribution is
 transferred in a direct trustee-to-trustee transfer to an Eligible Retirement Plan which is an
 individual retirement account described in Code Section 408(a) or an individual retirement
 account described in Code Section 408(b) (other than an endowment contract).

        1.15    "Disqualified Person" means a person who is:

                (a)     a Fiduciary;

                (b)     a person providing services to the Plan;

                (c)     a Plan Sponsor;

                (d)     an employee organization any of whose members are covered by the Plan;

                (e)     an owner, direct or indirect, of fifty percent (50%) or more of:

                        (1)     the combined voting power of all classes of stock entitled to vote
                or the total value of shares of all classes of stock of a corporation,

                        (2)     the capital interest or the profits interest of a partnership, or,

                        (3)     the beneficial interest of a trust or unincorporated enterprise,

                which is a Plan Sponsor or an employee organization described in Subsection (c)
                or (d);

                (f)    a Spouse, ancestor, lineal descendant, or any Spouse of a lineal descendant
        of any individual described in Subsection (a), (b), (c), or (e);

               (g)    a corporation, partnership, or trust or estate of which (or in which) fifty
        percent (50%) or more of:

                        (1)     the combined voting power of all classes of stock entitled to vote
                or the total value of shares of all classes of stock of such corporation,

                        (2)    the capital interest or profits interest of such partnership, or


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                         (3)     the beneficial interest of such trust or estate,

                  is owned directly or indirectly, or held by persons described in Subsection (a), (b),
                  (c), (d), or (e);

                 (h)    an officer, director (or an individual having powers or responsibilities
         similar to those of officers or directors), a ten percent (10%) or more shareholder, or a
         Highly Compensated Employee (earning ten percent (10%) or more of the yearly wages
         of a Plan Sponsor) of a person described in Subsection (c), (d), (e), or (g); or

                 (i)    a ten percent (10%) or more (in capital or profits) partner or joint venturer
         of a person described in Subsection (c), (d), (e), or (g).

         1.16     "Effective Date" means the date of the initial adoption of the Plan on January 1,
 2017.

         1.17 "Eligibility Service" means a twelve-consecutive-month period during which the
 Employee completes no less than 1,000 Hours of Service beginning on the date on which the
 Employee first performs an Hour of Service upon his employment or reemployment or, if the
 Employee fails to complete 1,000 Hours of Service in that twelve-consecutive-month period, any
 Plan Year thereafter during which the Employee completes no less than 1,000 Hours of Service,
 including the Plan Year which includes the first anniversary of the date the Employee first
 performed an Hour of Service upon his employment or reemployment.

        1.18 "Eligible Employee" means any Employee of the Primary Sponsor or any other
 Plan Sponsor which adopts the Plan in accordance with Section 19, other than an Employee who
 IS:

                  (a)    Jeff Jones, Del Creps, Paul Sherwood, Tanweer Khan, MD or Nicole
         Jones;

                 (b)     covered by a collective bargaining agreement between a union and a Plan
         Sponsor, provided that retirement benefits were the subject of good faith bargaining,
         unless the collective bargaining agreement provides for participation in the Plan;

                  (c)    a Leased Employee with respect to a Plan Sponsor;

                (d)   deemed to be an Employee of a Plan Sponsor pursuant to regulations
         under Code Section 414( o);

                (e)     a non-resident alien who received no earned income from a Plan Sponsor
         which constitutes income from sources within the United States; or

                (f)    employees who primary work location is Aspen Teleradiology, LLC,
         Specialty Imaging, LLC (dba Resilience Imaging), or Orthopedic Centers of Colorado,
         LLC (dba OCC Imaging at Pyramid Court) as shown on a Plan Sponsor's payroll records.




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 In addition, no person who is initially classified by a Plan Sponsor as an independent contractor
 for federal income tax purposes shall be regarded as an Eligible Employee for that period,
 regardless of any subsequent determination that any such person should have been characterized
 as a common law employee of the Plan Sponsor for the period in question.

        1.19 "Eligible Retirement Plan" means any of the following that will accept a
 Distributee's Eligible Rollover Distribution:

                (a)    an individual retirement account described in Code Section 408(a);

               (b)   an individual retirement annuity described in Code Section 408(b) (other
        than an endowment contract);

               (c)     an annuity plan described in Code Section 403(a) or an annuity contract
        described in Code Section 403(b), unless the Distributee is a non-Spouse Beneficiary of a
        deceased Participant;

               (d)    a qualified trust described in Code Section 40l(a), unless the Distributee is
        a non-Spouse Beneficiary of a deceased Participant; or

                (e)     an eligible plan under Code Section 457(b) which is maintained by a state
        or political subdivision of a state, or any agency or instrumentality of a state or political
        subdivision, and which agrees to separately account for amounts transfen-ed into such
        plan from this Plan, unless the Distributee is a non-Spouse Beneficiary of a deceased
        Participant.

 If any portion of an Eligible Rollover Distribution is attributable to payments or distributions
 from a designated Roth account (as defined in Code Section 402A), an Eligible Retirement Plan
 with respect to such portion shall include only another designated Roth account and a Roth IRA.

         1.20 "Eligible Rollover Distribution" means any distribution of all or any portion of
 the Distributee' s Account:

               (a)    including any portion of the distribution that is not includable in gross
        income, provided such amount is distributed directly to one of the following:

                       (1)    an individual retirement account described in Code Section 408(a)
               or an individual retirement annuity described in Code Section 408(b) (other than
               an endowment contract); or

                      (2)     a qualified trust as described in Code Section 401(a) or an annuity
               contract described in Code Section 403(b ), but only to the extent that:

                               (i)   the distribution is made in a direct trustee-to-trustee
                       transfer; and

                              (ii)   the transferee trust or contract provides for separate
                       accounting for amounts so transfened (and earnings thereon), including

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                        separately accounting for the portion of the distribution which is
                        includable in income and the portion which is not includable in income;
                        and

                 (b)    excluding:

                         (1)    any distribution that is one of a series of substantially equal
                 periodic payments made (not less frequently than annually) for the life (or life
                 expectancy) of the Distributee or the joint lives (or joint life expectancies) of the
                 Distributee and the Distributee's designated Beneficiary, or for a specified period
                 often (10) years of more;

                       (2)     any distribution to the extent such distribution is required under
                 Code Section 401(a)(9);

                        (3)     any distribution which is made upon hardship of the Employee;

                         (4)     except as otherwise provided in this Section, the portion of any
                 distribution that is not includable in gross income (determined without regard to
                 the exclusions for net unrealized appreciation with respect to employer securities);
                 and

                         (5)     if the Distributee is a non-Spouse Beneficiary of a deceased
                 Participant, any distribution other than a direct trustee-to-trustee transfer to an
                 individual retirement account described in Code Section 408(a) or an individual
                 retirement annuity described in Code Section 408(b) (other than an endowment
                 contract).

         1.21 "Employee" means any person who is: (a) a common law employee of a Plan
  Sponsor or Affiliate; (b) a Leased Employee with respect to a Plan Sponsor; or (c) deemed to be
  an employee of a Plan Sponsor pursuant to regulations under Code Section 414(o).

         1.22    "Entry Date" means January 1, April 1, July 1, and October 1.

        1.23 "ERISA" means the Employee Retirement Income Security Act of 1974, as
  amended, and the regulations issued thereunder.

         1.24 "ESOP Committee" means a committee, which may be established to direct the
  Trustee with respect to investments of the Fund pursuant to the terms of the Trust, and, if such a
  committee is not established, means the Primary Sponsor.

         1.25    "Fair Market Value" means:

                 (a)    if the Company Stock is not Publicly Traded, the value arrived at through
         a valuation carried on by an Independent Appraiser; or




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                (b)     if the Company Stock is Publicly Traded, the price most recently bid or
         asked, as appropriate, or paid for Company Stock listed on an exchange or quoted
         through a national securities exchange or association.

          1.26 "Fiduciary" means each Named Fiduciary and any other person who exercises or
  has any discretionary authority or control regarding management or administration of the Plan,
  any other person who renders investment advice for a fee or has an:y authority or responsibility to
  do so with respect to any assets of the Plan, or any other person who exercises or has any
  authority or control respecting management or disposition of assets of the Plan.

          1.27 "Financed Shares" means shares of Company Stock acquired by the Trustee with
  the proceeds of an Acquisition Loan.

         1.28 "Fund" means the amount at any given time of cash, Company Stock, and other
  property held by the Trustee pursuant to the Plan.

          1.29 "Guarantee" means any guarantee of payment of an Acquisition Loan by a person
  or entity other than the Plan.

        1.30 "Highly Compensated Employee" means, with respect to a Plan Year, an
  Employee who:

                 (a)    was at any time during the Plan Year or the immediately preceding Plan
         Year, an owner of more than five percent (5%) of the outstanding stock of a Plan Sponsor
         or Affiliate or more than five percent (5%) of the total combined voting power of all
         stock of a Plan Sponsor or Affiliate; or

                (b)    received Annual Compensation in excess of $120,000 for the immediately
         preceding Plan Year, which amount shall be adjusted for changes in the cost of living as
         provided in regulations issued by the Secretary of the Treasury and was in the top-paid
         group of employees, for such preceding year; or

                 (c)      is a former Employee who met the requirements of Subsection (a) or (b) at
         the time the former Employee separated from service with the Plan Sponsor or an
         Affiliate or at any time after the former Employee attained age fifty-five (55).

         Pursuant to Code Section 414(q)(3), an Employee is in the top-paid group for any year if
  an Employee is in the group consisting of the top twenty percent (20%) of Employees ranked on
  the basis of Annual Compensation paid to Employees during such year (the "top-paid group").
  For purposes of this Section, an Employee (who is not a five percent (5%) owner) who has
  Annual Compensation in excess of $120,000 is not a Highly Compensated Employee if the
  Employee is not in the top-paid group.

         1. 31   "Hour of Service" means:

                (a)   Each hour for which an Employee is paid, or entitled to payment, for the
         performance of duties for a Plan Sponsor or any Affiliate during the applicable


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        computation period, and such hours shall be credited to the computation period in which
        the duties are performed.

                (b)    Each hour for which an Employee is paid, or entitled to payment, by a
        Plan Sponsor or any Affiliate on account of a period of time during which no duties are
        performed (irrespective of whether the employment relationship has terminated) due to
        vacation, holiday, illness, incapacity (including disability), layoff, jury duty, military
        duty, or leave of absence.

                (c)     Each hour for which back pay, irrespective of mitigation of damages, is
        either awarded or agreed to by a Plan Sponsor or any Affiliate, and such hours shall be
        credited to the computation period or periods to which the award or agreement for back
        pay pertains rather than to the computation period in which the award, agreement or
        payment is made; provided, that the crediting of Hours of Service for back pay awarded
        or agreed to with respect to periods described in Subsection (b) of this Section shall be
        subject to the limitations set forth in Subsection (:t);

                (d)     Solely for purposes of determining whether a Break in Service has
        occurred, each hour during any period that the Employee is absent from work: (1) by
        reason of the pregnancy of the Employee; (2) by reason of the birth of a child of the
        Employee; (3) by reason of the placement of a child with the Employee in connection
        with the adoption of the child by the Employee; or (4) for purposes of caring for such
        child for a period immediately following its birth or placement shall be credited: (A) only
        in the computation period in which the absence from work begins, if the Employee would
        be prevented from incurring a Break in Service in that year solely because of that credit;
        or (B), in any other case, in the next following computation period;

                (e)    Without duplication of the Hours of Service counted pursuant to
        Subsection (d) hereof and solely for such purposes as required pursuant to the Family and
        Medical Leave Act of 1993 and the regulations thereunder (the "FMLA"), each hour (as
        determined pursuant to the FMLA) for which an Employee is granted leave under the
        FMLA: (1) for the birth of a child; (2) for placement with the Employee of a child for
        adoption or foster care; (3) to care for the Employee's Spouse, child or parent with a
        serious health condition; or (4) for a serious health condition that makes the Employee
        unable to perform the functions of the Employee's job;

                (:t)   The Plan Administrator shall credit Hours of Service in accordance with
        the provisions of Sections 2530.200b-2(b) and (c) of the U.S. Department of Labor
        Regulations or such other federal regulations as may from time to time be applicable and
        determine Hours of Service from the employment records of a Plan Sponsor or in any
        other manner consistent with regulations promulgated by the Secretary of Labor, and
        shall construe any ambiguities in favor of crediting Employees with Hours of Service.
        Notwithstanding any other provision of this Section, in no event shall an Employee be
        credited with more than 501 Hours of Service during any single continuous period during
        which he performs no duties for the Plan Sponsor or Affiliate;




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                 (g)     In the event that a Plan Sponsor or an Affiliate acquires substantially all of
         the assets of another corporation or entity or a controlling interest of the stock of another
         corporation or merges with another corporation or entity and is the surviving entity, then
         service of an Employee who was employed by the prior corporation or entity and who is
         employed by the Plan Sponsor or an Affiliate at the time of the acquisition or merger
         shall be counted in the manner provided, with the consent of the Primary Sponsor, in
         resolutions adopted by the Plan Sponsor which authorizes the counting of such service;
         and

                  (h) Notwithstanding any other provision of the Plan, Hours of Service will be
         provided in accordance with Code Section 414(u) with respect to qualified military
         service.

         1.32 "Independent Appraiser" means an individual meeting requirements similar to
  those contained in Treasury Regulations under Code Section 170(a)(l) who holds himself out to
  the public as an appraiser, who is qualified to make an appraisal of Company Stock, who
  understands that a false or fraudulent overstatement of the value of Company Stock may subject
  him to a civil penalty under Code Section 6701 and who is not:

                (a)     the seller of Company Stock;

                (b)     a Plan Sponsor or an Affiliate;

                (c)     any person employed by or related to (within the meaning of Code Section
         267(b)) the persons described in Subsections (a) and (b) above;

                 (d)    a party to the transaction by which the person selling, or contributing any
         Company Stock to the Plan acquired the Company Stock (unless the Company Stock is
         sold or contributed to the Plan within two (2) months of its acquisition and its appraised
         price does not exceed its acquisition cost); or

                  (e)     any person whose relationship with a person described in Subsections (a),
         (b), (c), or (d) above is such that a reasonable person would question the independence of
         the appraiser.

        1.33 "Investment Manager" means a Fiduciary, other than the Trustee, the ESOP
  Committee, the Plan Administrator, or a Plan Sponsor, who may be appointed by the Primary
  Sponsor:

                (a)     who has the power to manage, acquire, or dispose of any assets of the
         Fund or a portion thereof; and

                (b)     who

                        (1)   is registered as an investment adviser under the Investment
                Advisers Act of 1940;

                        (2)     is a bank as defined in the Investment Advisers Act of 1940; or

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                        (3)     is an insurance company qualified to perform services described in
                 Subsection (a) above under the laws of more than one state; and

                 (c)    who has acknowledged in writing that he is a Fiduciary with respect to the
         Plan.

          1.34 "Leased Employee" means an Employee (other than a common law employee of
  the Plan Sponsor or an Affiliate) who, pursuant to an agreement between the Plan Sponsor or an
  Affiliate and any other person, has performed services for the Plan Sponsor or an Affiliate (or for
  the Plan Sponsor and related persons determined in accordance with Code Section 414(n)(6)) on
  a substantially full-time basis for a period of at least one (1) year, and such services are
  performed under the primary direction or control of the Plan Sponsor or an Affiliate.

         1.35    "Named Fiduciary" means only the following:

                 (a)    the Plan'Administrator;

                 (b)    the Trustee;

                 (c)    the Board of Directors;

                 (d)    the ESOP Committee; and

                 (e)    the Investment Manager.

         1.36    "Normal Retirement Age" means age sixty-five (65).

          1.3 7 "Other Investment Subaccount" means the subaccount within each Account
  invested in assets other than Company Stock. The balance of the Other Investment Subaccount
  shall be expressed as a dollar amount and shall be adjusted pursuant to the Plan to reflect income,
  gains, losses and other credits or charges attributable thereto.

          1.38 "Participant" means any Employee or former Employee who has become a
  Participant in the Plan for so long as his vested Account has not been fully distributed pursuant
  to the Plan..

          1.39 "Payment Policy" means the policy adopted by the Plan Administrator from time
  to time which shall provide rules on distributions that are not inconsistent with the terms of the
  Plan, including the form and timing of distributions.

          1.40 "Plan Administrator" means the organization or person designated to administer
   the Plan by the Primary Sponsor and, in lieu of any such designation, means the ESOP
 · Committee.

          1.41 "Plan Sponsor" means individually the Primary Sponsor and any Affiliate or other
  entity which has adopted the Plan and Trust.

         1.42    "Plan Year" means the calendar year.


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           1.43 "Publicly Traded" means Company Stock that is listed on a national securities
  exchange under Section 6 of the Securities Exchange Act of 1934 (15 U.S.C. Section 78f) or
  that is quoted on a system sponsored by a national securities association registered under Section
  15A(b) of the Securities Exchange Act of 1934 (15 U.S.C. Section 780).

          1.44   "Put and First Refusal Rights" means the rights described in Section 11 of the
  Plan.

          1.45   "Qualified Plan" means any plan qualified under Code Section 401.

          1.46 "Retirement Date" means a Termination of Employment for reasons other than
  death after the Participant attains Normal Retirement Age.

           1.4 7 "Spouse" means a person who, by reason of marriage valid under the laws of the
  state or jurisdiction where it was entered into, is the lawful spouse of the Participant.

         1.48 "Termination Completion Date" means the last day of the fifth (5th) consecutive
  Break in Service computation period, determined under the Section which defines Break in
  Service, in which a Participant completes a Break in Service.

           1.49 "Termination of Employment" means a severance from employment (within the
  meaning of Code Section 40l(k)(2)(B)(i)(I)) of an Employee from all Plan Sponsors and
  Affiliates for any reason other than death, Disability, or attainment of a Retirement Date. Any
  absence from active employment of the Plan Sponsor and Affiliates by reason of an approved
  leave of absence shall not be deemed for any purpose under the Plan to be a Termination of
  Employment. Transfer of an Employee from one Plan Sponsor to another Plan Sponsor or to an
  Affiliate shall not be deemed for any purpose under the Plan to be a Termination of
  Employment. In addition, transfer of an Employee to another employer (other than a Plan
  Sponsor or an Affiliate) in connection with a corporate transaction involving a sale of assets,
  merger, or sale of stock, shall not be deemed to be a Termination of Employment, for purposes
  of the timing of distributions under Section 9 .1 of the Plan, if the employer to which such
  Employee is transferred agrees with the Plan Sponsor to accept a transfer of assets from the Plan
  to its tax-qualified retirement plan in a trust-to-trust transfer meeting the requirements of Code
  Section 414(1).

          1.50 "Trust" means the Envision Management Holding, Inc. Employee Stock
  Ownership Trust established under an agreement between the Primary Sponsor and the Trustee
  to hold the Fund or any successor agreement.

          1.51   "Trustee" means the trustee under the Trust.

         1.52 "Valuation Date" means the last day of the Plan Year or any other day which the
  Plan Administrator, declares to be a Valuation Date.

          1.53 "Vesting Service" means each Plan Year during which an Employee has
  completed no less than 1,000 Hours of Service. Notwithstanding anything contained herein to the
  contrary, Vesting Service shall not include:


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                 (a)    in the case of an Employee who completes five (5) consecutive Breaks in
         Service, for purposes of determining the vested portion of his Account derived from Plan
         Sponsor contributions which accrued before his Termination Completion Date, all service
         in Plan Years after his Termination Co,lllpletion Date; and

                 (b)     in the case of an Employee who completes :qve (5) consecutive Breaks in
         Service and at that time does not have any vested right in Plan Sponsor contributions, all
         service before those Breaks in Service commenced.

                                            SECTION2
                                           ELIGIBILITY

          2.1    New Hires. For the 2017 Plan Year, each Eligible Employee shall become a
  Participant as of the date the Eligible Employee first performs an Hour of Service in 2017. Each
  Eligible Employee who first becomes an Eligible Employee on or after January 1, 2018 shall
  become a Participant as of the Entry Date coinciding with or next following the date he
  completes his Eligibility Service.

         2.2    Former Participants Rehired. Each former Participant who is reemployed by a
  Plan Sponsor shall become a Participant as of the date he is reemployed as.an Eligible Employee.

         2.3     Former Employees Rehired. Each former Employee who terminates employment
  with a Plan Sponsor before becoming a Participant shall become a Participant as of the latest of
  the date he (a) is reemployed, (b) would have become a Participant if he had not incurred a
  Termination of Employment, or (c) becomes an Eligible Employee.

                                          SECTION3
                                        CONTRIBUTIONS

          3 .1    Employer Contributions. Tue Plan Sponsor shall make aggregate contributions to
  the Fund with respect to each Plan Year in an amount determined at the Plan Sponsor's
  discretion, but not less than the amount necessary to pay when due all required payments of
  interest and principal under any and all Acquisition Loans, reduced to the extent of any dividends
  paid or other distributions made with respect to shares of Company Stock held by the Plan and
  applied towards the payment of any such Acquisition Loan in accordance with Section 4.1 of the
  Plan. The share of each Plan Sponsor in the aggregate contributions for each Plan Year shall be
  equal to the amount of the contributions attributable to Participants who are Eligible Employees
  of the Plan Sponsor, as dete1mined by the Plan Administrator. The contribution under this
  Section 3.1 of the Plan will be allocated in accordance with Section 4.1 of the Plan.

         3.2     Form and Deductibility of Contributions. Contributions may be made only in
  Company Stock or cash; provided that, Plan Sponsor contributions shall be made in cash as
  needed to pay any principal and interest payments required by an Acquisition Loan, if any. In no
  event will the sum of contributions under Section 3 .1 of the Plan exceed the deductible limits
  under Code Section 404.

          3.3     Forfeitures. Forfeitures shall be used to repay an Acquisition Loan or reallocated
  at the end of each Plan Year to Participants, as provided in Section 4.1 of the Plan.

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         3.4     Qualified Military Service. Notwithstanding any provision of the Plan to the
  contrary, contributions, benefits and service credit with respect to qualified military service will
  be provided in accordance with Code Section 414(u).

                                        SECTION 4
                                VALUATION AND ALLOCATION

         4.1     Allocations of Contributions and Forfeitures.

                 (a)     Amounts Not Used to Repay an Outstanding Acquisition Loan. As of the
         last day of each Plan Year, Plan Sponsor contributions of Company Sfock, cash or other
         property made under Section 3.1 and forfeitures :from ESOP Accounts under Section 3.3,
         in each case, to the extent not used to repay an Acquisition Loan shall be allocated to the
         ESOP Account of each Participant who

                       (1)     for the 2017 Plan Year is (1) an Eligible Employee and (2) is
                 employed by the Plan Sponsor on the last day of the Plan Year; or

                         (2)     for any Plan Year beginning on or after January 1, 2018, is (i) an
                 Eligible Employee; (ii) has been credited with one (1) year of Vesting Service for
                 that Plan Year; and (iii) is employed by the Plan Sponsor on the last day of the
                 Pfan Year or who, while an Employee, reached a Retirement Date, incurred a
                 Disability or died during the Plan Year;

         in the proportion that the Annual Compensation of the Participant bears to the Annual
         Compensation of all such Participants.

                 (b)     Repayment of Outstanding Acquisition Loans. As of the last day of each
         Plan Year, Plan Sponsor cash contributions made under Section 3.1, forfeitures of cash
         held in Participants' ESOP Accounts under Section 3.3 and cash dividends paid or other
         cash distributions made on shares of Company Stock held in the Loan Suspense Account
         shall be used to make principal and interest payments then due on outstanding
         Acquisition Loans. In addition, to the extent permitted by applicable law, cash dividends
         paid or cash distributions made with respect to shares of Company Stock allocated to
         Participants' ESOP Accounts may be used to repay an Acquisition Loan incuned in
         connection with the acquisition of such shares. The Plan Administrator may, in its
         discretion, use any cash contributions made by.the Plan Sponsor pursuant to Section 3.1
         in excess of any amount then due on an Acquisition Loan to prepay the balance of such
         Acquisition Loan. Each such payment with respect to an Acquisition Loan will result in
         a release of Financed Shares from the Loan Suspense Account in an amount described in
         Section 5.l(b), which Financed Shares shall be allocated to Participants' ESOP Accounts
         as provided in Section 4.2.

          4.2    Allocations of Shares Released from the Loan Suspense Account. Shares of
  Company Stock released from the Loan Suspense Account as provided in Section 5.l(b) shall be
  allocated to Participants' ESOP Accounts as follows:



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                 (a)    To the extent cash dividends paid or other cash distributions made with
         respect to Company Stock held in Participants' ESOP Accounts are used to repay an
         Acquisition Loan incurred in connection with the acquisition of such Financed Shares,
         the number of Financed Shares released from the Loan Suspense Account to be allocated
         to such Participants' ESOP Accounts shall be determined as follows:

                        (1)     The aggregate number of released Financed Shares to be allocated
                to Participants' Company Stock Subaccounts as' a result of the use of such cash
                dividends or cash distributions to repay an Acquisition Loan during a Plan Year
                shall be equal to the greater of:

                               (i)    the aggregate number of Financed Shares released due to
                       the payment of principal and interest on the Acquisition Loan during the
                       Plan Year, multiplied by a fraction, the numerator of which is the total
                       amount of cash dividends or other cash distributions used from all
                       Participants' Other Investment Subaccounts to repay the Acquisition Loan
                       during the Plan Year, and the denominator of which is the amount of the
                       aggregaty payment of principal and interest paid with respect to the
                       Acquisition Loan for such Plan Year; and

                               (ii)   the number of released Financed Shares having a Fair
                       Market Value at least equal to the amount of the cash dividends or other
                       cash distributions paid with respect to Company Stock held in
                       Participants' Company Stock Subaccounts which are used to repay the
                       Acquisition Loan.

                        (2)     The number of Financed Shares determined pursuant to Subsection
                (1) hereof shall be allocated to each Participant's Company Stock Subaccount in
                the same proportion that the cash dividends or other cash distributions used from
                such Participant's Other Investment Subaccount to repay the Acquisition Loan
                during the Plan Year bears to the total amount of cash dividends and other cash
                distributions so used from all Participants' Other Investment Subaccounts.

                (b)     following the allocation to Participants' ESOP Accounts pursuant to
         Subsection (a) hereof, any remaining Financed Shares released from the Loan Suspense
         Account shall be allocated to Participants' Company Stock Subaccounts in accordance
         with Section 4. l(a);

          4.3   Allocation of Dividends, Other Distributions and Net income/Loss. As of each
  Valuation Date, dividends paid and other distributions made with respect to Company Stock
  allocated to Participants' ESOP Accounts or held in the Loan Suspense Account (and any
  income thereon) and any other net income or loss of the Fund shall be allocated as follows:

                (a)     Cash dividends and other cash distributions (and any income thereon) paid
         with respect to Company Stock held in the Loan Suspense Account on the record date of
         such dividend or distribution shall be used to repay an Acquisition Loan incurred in
         connection with the acquisition of such shares, and the released Financed Shares


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        attributable to the use of such dividends or other distributions shall be allocated in
        accordance with Section 4.2.

                (b)    Cash dividends and other cash distributions (and any income thereon) paid
        with respect to shares of Company Stock held in a Participant's Company Stock
        Subaccount on the record date of such dividend or distribution shall be credited to such
        Participant's Other Investment Subaccount.

                (c)    Any additional shares of Company Stock which are issued with respect to
        any Company Stock held in a Company Stock Subaccount, including, but not limited to,
        stock dividends, shall be allocated to that Company Stock Subaccount as of the Valuation
        Date coinciding with or next following the date on which the additional shares of
        Company Stock are delivered to the Trustee. The additional shares of Company Stock
        shall be allocated to each Company Stock Subaccount based upon the number of shares
        of Company Stock in each Company Stock Subaccount as of the record date of the stock
        dividend or other equity right.

               (d)     Allocation of Net Income and Loss. Except as otherwise provided in the
        Plan and Trust, the net loss and the net income of the Other Investment Subaccounts shall
        be determined separately by the Plan Administrator or its designee as of each Valuation
        Date as follows:

                       (i)    To the cash income, if any, since the last Valuation Date there shall
               be added or subtracted, as the case may be, any net increase or decrease in the fair
               market value of the assets of the Fund (other than Company Stock Subaccounts),
               any gain or loss on the sale or exchange of assets of the Fund (other than
               Company Stock Subaccounts), accrued interest with respect to any interest-
               bearing security, the amount of any dividend declared but not paid on shares of
               stock owned by the Fund (other than Company Stock Subaccounts) if the market
               quotation used in determining the value of the shares is ex-dividend, and the
               amount of any other assets of the Fund (other than Company Stock Subaccounts)
               determined by the Trustee to be income; and

                      (ii)     From the sum thereof there shall be deducted all charges, expenses,
               and liabilities accrued since the last Valuation Date which are proper under the
               provisions of the Plan and Trust and which in the discretion of the Plan .
               Administrator are properly chargeable against income of the Fund (other than
               Company Stock Subaccounts) for the period; provided, however, that interest paid
               on any Acquisition Loan shall be disregarded.

        The net income or net loss so determined of the Fund (other than Company Stock
        Subaccounts) shall be allocated as of the Valuation Date to each Other Investment
        Subaccount in the proportion that the value of the Other Investment Subaccount as of
        the preceding Valuation Date, reduced by the full amount of any distributions from that
        Other Investment Subaccount since that Valuation Date, bears to all such Other
        Investment Subaccounts of all Participants as of the preceding Valuation Date, as so
        reduced.


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         4.4     Valuation of Company Stock. All valuations of shares of Company· Stock made
  with respect to activities carried on by the Plan which shares. of Company Stock are not Publicly
  Traded shall be made by an Independent Appraiser.

          4.5     Section 1042 Transactions. At any time during which the Plan Sponsor does not
  have an election in effect under Subchapter S of the Code, no portion of the Plan assets
  attributable to Company Stock purchased pursuant to a sale with respect to which Code Section
  1042(a) applies shall accrue under the Plan or any other plan maintained by a Plan Sponsor,
  either directly or indirectly, for the benefit of:

                (a)    a seller or any iiidividual who is related to the seller (within the meaning
         of Code Section 267 (b)) at any time from the date of sale until the later of:

                         (1)    the date which is ten years after the date of the sale; or

                        (2)    the date of the allocation attributable to the final payment of any
                 Acquisition Loan incurred in connection with the sale; or

                (b)     any other person who owns after application of Code Section 318( a) (but
         without regard to paragraph (2)(B)(i) thereof) more than twenty-five percent (25%) of the
         outstanding portion of:

                         (1)    any class of; or

                         (2)    the total value of any class of;

         stock of the corporation that issued the Company Stock acquired or of any member of the
         same controlled group of corporations within the meaning of Code Section 409(1 ).

  However, Participants who are lineal descendants of the seller may receive an aggregate
  allocation of not more than five percent (5%) of the Company Stock purchased by the Plan, and a
  Participant who is described in Subsection (b) of this Section may receive allocations of the
  Company Stock purchased by the Plan ifhe failed to meet the criteria set forth in that Subsection
  either: (i) during the one-year period ending on the date of the purchase; or (ii) on the date as of
  which that Company Stock is allocated to Participants' Accounts.

         4.6     Prohibited Allocations to S Corporation Owners.

                 (a)    General Rule. In the event the Plan Sponsor is an S Corporation, there
         shall be no impermissible accrual or impermissible allocation under the Plan or any other
         plan maintained by the Plan Sponsor and qualified under Code Section 401(a) for the
         benefit of any Disqualified Person.

                         (1)     There is an impermissible accrual to the extent that Company
                 Stock consisting of stock in an S corporation owned by the Plan and any assets
                 attributable thereto are held under the Plan for the benefit of a Disqualified Person·
                 during a Nonallocation Year. For this purpose, assets attributable to stock in an S


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               Corporation owned by the Plan include any distributions, within the meaning of
               Code Section 1368, made on S Corporation stock held in a Disqualified Person's
               Account in the Plan (including earnings thereon), plus any proceeds from the sale
               of S Corporation securities held for a Disqualified Person's Account in the Plan
               (including any earnings thereon).
                       (2)     An impermissible allocation occurs during a Nonallocation Year to
               the extent that a contribution or other annual addition (within the meaning of
               Code Section 415(c)(2)) is made with respect to the account of a Disqualified
               Person, or the Disqualified Person otherwise accrues additional benefits, directly
               or indirectly under the Plan or any other plan of the Plan Sponsor qualified under
               Code Section 40l(a) (including a release and allocation of assets from a suspense
               account, as described at Treasury Regulation Section 54.4975-1 l(c) and (d)) that,
               for the Nonallocation Year, would have been added to the Account of the
               Disqualified Person under the Plan and invested in Company Stock consisting of
               stock in an S Corporation owned by the Plan but for a provision in the Plan that
               precludes such addition to the Account of the Disqualified Person, and investment
               in Company Stock during a Nonallocation Year.

               (b)   Definitions. As used in this Section, the following terms shall have the
        following meanings:

                      (1)    "Disqualified Person" shall mean any person if:

                              (i)    the number of such person's Deemed Owned Shares is at
                      least ten percent (10%) of the total number of all Deemed Owned Shares;

                             (ii)   the aggregate number of such person's Deemed Owned
                      Shares and Synthetic Equity Shares is at least ten percent (10%) of the
                      sum of: (A) the total number of all Deemed Owned Shares; and (B) such
                      person's Synthetic Equity Shares;

                              (iii) the aggregate number of Deemed Owned Shares of such
                      person and such person's Family is at least twenty percent (20%) of the
                      total number of all Deemed Owned Shares; or

                             (iv)   the aggregate number of such persons' Deemed Owned
                      Shares and Synthetic Equity Shares is at least twenty percent (20%) of the
                      sum of (A) the total number of all Deemed Owned Shares; and (B) such
                      person's Synthetic Equity Shares;

               provided, however, that for purposes of subparagraphs (iii) and (iv), a member of
               such person's Family shall not be deemed to be a Disqualified Person if such
               Family member does not own any Deemed Owned Shares or Synthetic Equity
               Shares.

                      (2)    "Deemed Owned Shares" shall mean with respect to any person,


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                            (i)    shares of Company Stock allocated to such person's
                      Account; and

                             (ii)   any unallocated shares of Company Stock held by the Plan
                      that would be allocated to such person's Account if the unallocated shares
                      of Company Stock in the Plan were allocated to all Participants in the
                      same proportion as the most recent allocation of Company Stock under the
                      Plan.

                      (3)     "Nonallocation Year" is any Plan Year if, at any time during such
               Plan Year, the Plan holds Company Stock of a Plan Sponsor, the Plan Sponsor is
               an S Corporation, and either:

                             (i)   Disqualified Persons own at least fifty percent (50%) of the
                      total number of shares of outstanding Company Stock (including the
                      Deemed Owned Shares); or

                              (ii)   Disqualified Persons own at least fifty percent (50%) of the
                      sum of: (A) the number of shares of outstanding Company Stock
                      (including the Deemed Owned Shares); and (B) the Synthetic Equity
                      Shares held by Disqualified Persons.

                      (4)    ·"Family" means with respect to a person:

                              (i)     The person's Spouse;

                             (ii)  The person's and the person's Spouse's ancestors and lineal
                      descendants;

                             (iii)  The person's and person's Spouse's brothers and sisters
                      and such brothers' and sisters' lineal descendants; and

                               (iv)   The Spouse of any individual described in clauses (ii) or
                      (iii) hereof.

               For purposes of this paragraph (4), a Spouse of a person who is legally separated
               from such person under a decree of divorce or separate maintenance is not treated
               as such person's Spouse.

                      (5)     "Synthetic Equity" means:

                              (i)     A right to acquire Company Stock determined as follows:

                                     (A)    a right to acquire Company Stock includes any
                              stock option, warrant, restricted stock, deferred issuance stock


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                          right, stock appreciation right payable in stock, or similar interest
                          or right that gives the holder the right to acquire or receive
                          Company Stock in the future. Rights to acquire Company Stock
                          with respect to Company Stock that is, at all times during the
                          period when such rights are effective, both issued and outstanding
                          and held by a person other than the Plan, the Plan Sponsor or a
                          related entity are not Synthetic Equity but only if that person is
                          subject to federal income taxes; and

                                  (B)     A right of first refusal to acquire stock held by the
                          Plan is not treated as a right to acquire Company Stock if:

                                           (I)    the right would not be taken into account
                                  under Treasury Regulation Section l.1361-1(1)(2)(iii)(A) in
                                  determining if an S Corporation has a second class of stock
                                  and the price at which the stock is acquired under the right
                                  of first refusal is not less than the price determined under
                                  Code Section 409(h), and

                                         (II)   the right complies with the requirements of
                                  Treasury Regulation Section 54.4975-7(b)(9) of the Excise
                                  Tax Regulations;

                           (ii)    A right to a future payment (payable in cash or any other
                   form other than Company Stock) from the Plan Sponsor that is based on
                   the value of the Company Stock, such as appreciation in value;

                           (iii)   A right to acquire stock or other similar interests in a
                   Related Entity to the extent of the Plan Sponsor's ownership. Synthetic
                   Equity also includes a right to acquire the assets of the Plan Sponsor or a
                   Related Entity other than either rights to acquire goods, services or
                   property at fair market value in the ordinary course of business or fringe
                   benefits excluded from gross income under Code Section 132; and

                           (iv)   Any remuneration to which Code Section 404(a)(5)
                   applies; remuneration for which a deduction would be permitted under
                   Code Section 404(a)(5) if separate accounts were maintained; any right to
                   receive property, as defined in Treasury Regulation Section l.83-3(e)
                   (including a payment to a trust described in Code Section 402(b) or to an
                   annuity described in Code Section 403(c)) in a future year for the
                   performance of services; any transfer of property in connection with the
                   performance of services to which Code Section 83 applies to the extent
                   that the property is not substantially vested within the meaning of
                   Treasury Regulation Section l.83-3(i) by the end of the Plan Year in
                   which transferred; and a split-dollar life insurance arrangement under
                   Treasury Regulation Section l .61-22(b) entered into in connection with


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                      the performance of services (other than one under which, at all times, the
                      only economic benefit that will be provided under the arrangement is
                      current life insurance protection as described in Treasury Regulation
                      Section 1.61-22(d)(3)). Synthetic Equity also includes any other
                      remuneration for services under a plan, method, or arrangement, deferring
                      the receipt of compensation to a date that is after the 15th day of the 3rd
                      calendar month after the end of the entity's taxable year in which the
                      related services are rendered.

                              Notwithstanding the foregoing, Synthetic Equity does not include
                      the following:

                                      (A)     any interest described in clause (iv) to the extent
                              that:

                                             (I)     the interest is nonqualified deferred
                                      compensation (within the meaning of Code Section
                                      3121(v)(2)) that was outstanding on December 17, 2004;

                                             (II)    the interest is an amount that was taken into
                                      account (within the meaning of Treasury Regulation
                                      Section 31.312l(v)(2)-l(d)) prior to January 1, 2005, for
                                      purposes of taxation under Chapter 21 of the Code (or
                                      income attributable thereto); and

                                             (III) the interest was held before the first date on
                                      which the Plan acquires any Company Stock;

                                     (B)     benefits under a plan that is an eligible retirement
                              plan within the meaning of Code Section 402(c)(8)(B); or

                              (v)    Notwithstanding clauses (i), (ii), (iii) and (iv), Synthetic
                      Equity does not include shares that are Deemed Owned Shares held by the
                      Plan (or any rights with respect to such Deemed Owned Shares to the
                      extent such rights are specifically provided under Code Section 409(h)).

                       (6)     "Related Entity" means any entity in which the Plan Sponsor holds
               an interest and which is a partnership, a trust, an eligible entity that is disregarded
               as an entity that is separate from its owner under Treasury Regulation Section
               301.7701-3, or a Qualified Subchapter S Subsidiary under Code Section
               1361(b)(3).

                      (7)    "Synthetic Equity Shares" means the number of shares of
               Synthetic Equity determined under the rules of Section 4.5(d).




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                      (8)    "S Corporation" means an "S corporation" as defined in Code
               Section 1361(a)(l).

               (c)     Attribution Rules.

                      (1)     In General. For purposes of determining ownership of shares in
               the Plan Sponsor (including the Deemed Owned Shares) and Synthetic Equity
               Shares to determine whether a Nonallocation Year exits, the attribution rules in
               Code Section 318(a) (other than Code Section 318(a)(4)) shall apply; provided,
               however, that for purposes of applying Code Section 318(a)(l), the members of
               an individual's family shall be determined with reference to the definition of
               Family in this Section 4.5 of the Plan. In addition, for purposes of this paragraph,
               an individual shall be treated as owning any Deemed Owned Shares of the
               individual notwithstanding the employee trust exception in Code Section
               318(a)(2)(B)(i).

                        (2)    Synthetic Equity. Synthetic Equity is treated as owned by the
               person that has any of the rights specified in Subsection (d). In addition, the
               attribution rules as set forth in paragraph (1) of this Subsection apply for purposes
               of attributing ownership of Synthetic Equity. The attribution of Synthetic Equity
               under this paragraph (2) shall be applied before the general attribution rules of
               paragraph (1) hereof.

                       (3)     Special Rule for Certain Stock Rights.

                             (A)    For purposes of determining if a Plan Year is a
                      Nonallocation Year, a person is treated as owning stock if the person has
                      an exercisable right to acquire the stock, the stock is both issued and
                      outstanding, and the stock is held by persons other than the Plan, the
                      Primary Sponsor, or a Related Entity.

                              (B)     This paragraph (3) applies only if treating persons as
                      owning the shares described in subparagraph (A) above results in a
                      Nonallocation Year. This paragraph (3) does not apply to a right to acquire
                      stock of the Primary Sponsor held by a shareholder that is subject to
                      Federal income tax that, under Treasury Regulation Section l.1361-
                      1(1)(2)(iii)(A) or (1)(4)(iii)(C), would not be taken into account in
                      determining if an S Corporation has a second class of stock, provided that
                      a principal purpose of the right is not the avoidance or evasion of Code
                      Section 409(p). , This paragraph (3) does not apply for purposes of
                      determining ownership of Deemed Owned Shares or whether an interest
                      constitutes Synthetic Equity.      ·

                       (4)     Application with Respect to Shares Treated as Owned by More
               Than One Person. For purposes of determining if a Plan Year is a Nonallocation
               Year if, by application of the rules of paragraphs (1), (2), or (3) of this Subsection,
               any share is treated as owned by more than one person, then that share is counted

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               as a single share and that share is treated as owned by Disqualified Persons if any
               of the owners is a Disqualified Person.

               (d)    Rules of Application.

                      (1)    Number of Synthetic Equity Shares.

                              (i)     Based on Value of Company Stock. If Synthetic Equity is
                      determined in reference to the value of Company Stock, the person
                      entitled to such Synthetic Equity is treated as owning the number of shares
                      of stock deliverable pursuant to such Synthetic Equity. If payment of such
                      Synthetic Equity is to be made in a form other than Company Stock, the
                      number of shares of Synthetic Equity treated as owned is equal to the
                      number of shares of Company Stock having a Fair Market Value equal to
                      the cash or other property in which payment is to be made (disregarding
                      lapse restrictions as described in Treasury Regulation Section l .83-3(i)).

                               (ii)   Based on Related Entity. If Synthetic Equity is determined
                      by reference to shares of stock (or similar interests) in a Related Entity, the
                      person entitled to the Synthetic Equity is treated as owning shares of
                      Company Stock with the same aggregate value as the number of shares of
                      stock (or similar interests) of the Related Entity (disregarding lapse
                      restrictions as defined in Treasury Regulation Section l .83-3(i)).

                              (iii)   Other Synthetic Equity. In the case of Synthetic Equity not
                      described in clause (i) or (ii) hereof, the person entitled to such Synthetic
                      Equity is treated as owning on any date the number of shares of Company
                      Stock equal to the present value (on that date) of the Synthetic Equity
                      (determined without regard to lapse restrictions as defined in Treasury
                      Regulation Section 1.83-3(i)) divided by the fair market value of a share
                      of Company Stock as of that date. For purpose of the Synthetic Equity
                      described in this clause (iii), the number of shares of Synthetic Equity
                      owned by a person for a Plan Year shall be determined annually as of the
                      first day of the Plan Year and such number of shares shall be treated as
                      owned by such person for the remainder of the Plan Year, regardless of
                      changes in such Synthetic Equity during such Plan Year.

                              (iv)    Synthetic Equity for Rights to Supervoting Stock. If a
                      Synthetic Equity right includes (directly or indirectly) a right to purchase
                      or receive shares of Company Stock that have per-share voting rights
                      greater than the per-share voting rights of one or more shares of Company
                      Stock held by the Plan, then the number of shares of deemed owned
                      Synthetic Equity attributable to such right is not less than the number of
                      shares of Company Stock that would have the same voting rights if such
                      shares had the same per-share voting rights as shares held by the Plan with
                      the least voting rights.


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                        (2)   Adjustment of Number of Shares of Synthetic Equity. If the Plan
                owns less than 100% of the shares of Company Stock outstanding, the number of
                shares of Synthetic Equity otherwise determined under paragraph (1) hereof shall
                be decreased ratably to the extent that shares of Company Stock are owned by a
                person who is not an employee stock ownership plan as described in Treasury
                Regulation Section 54.4975-1 l(a)(5) (and who is subject to Federal income
                taxes).

                (e)     Transfers from the Plan to Other Qualified Plans. In the event a Plan Year
        is a Nonallocation Year or an allocation would otherwise be prohibited under Section
        4.5(a) of the Plan, the Plan Administrator may transfer all or a portion of the accounts in
        the Plan of a Participant who is a Disqualified Person (or a person reasonably expected to
        become a Disqualified Person absent a transfer described in this Section 4.5(e)) to the
        Participant's account in a separate part of this Plan which is not an employee stock
        ownership plan as described in Treasury Regulation Section 54.4975-l l(a)(5), if any, or
        to another plan sponsored by the Employer that satisfies the requirements of Code
        Section 401(a) (and that is not an employee stock ownership plan as described in
        Treasury Regulation Section 54.4975-1 l(a)(5)). Any such transfer must be effectuated
        by affirmative action taken no later than the date of the transfer, and all subsequent
        actions (including benefit statements) generally must be consistent with the transfer
        having occurred on that date.

                                    SECTIONS
                     ACQUISITION LOANS/INVESTMENT OF ASSETS

        5.1     Acquisition Loans.

                 (a)     Except in instances where the Trustee has discretionary authority under
         the Trust, the ESOP Committee may direct the Trustee to obtain Acquisition Loans. An
         Acquisition Loan shall meet all requirements necessary to constitute an "exempt loan"
         within the meaning of Treasury Regulation Section 54.4975-7(b)(l)(iii). At the time an
       . Acquisition Loan is made, the interest rate for the Acquisition Loan and the price of
         Company Stock to be acquired therewith may not be such that assets of the Plan might be
         drained off. The terms of an Acquisition Loan must, at the time the Acquisition Loan is
         made, be at least as favorable to the Plan as the terms of a comparable loan resulting from
         arm's length negotiations between independent parties. The proceeds of any Acquisition
         Loan shall be used within a reasonable time after the Acquisition Loan is obtained and
         may only be used to purchase Company Stock, to repay the Acquisition Loan, or to repay
         any prior Acquisition Loan. An Acquisition Loan shall provide for no more than a
         reasonable rate of interest. An Acquisition Loan must be without recourse against the
         Plan and must be for a specific term and not payable at the demand of any person, except
         in case of default. For purposes of this Section, "default" shall mean the failure to pay
         any amount due under the Acquisition Loan, or any other event specified in the
         agreement memorializing the Acquisition Loan. The Acquisition Loan's number of years
         to maturity must be definitely ascertainable. The only assets of the Fund that may be
         given as collateral for an Acquisition Loan are shares of Company Stock acquired with its
         proceeds or used as collateral on a prior Acquisition Loan repaid with the proceeds of the

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        current Acquisition Loan. The Company Stock pledged shall be placed in the Loan
        Suspense Account. No person entitled to payment under an Acquisition Loan shall have
        recourse against the Fund other than that collateral, Plan Sponsor contributions in cash
        that are made to meet obligations under the Acquisition Loan, and earnings attributable to
        that collateral and investment of Plan Sponsor contributions. In the event of a default
        upon an Acquisition Loan, the value of assets of the Plan transferred in satisfaction
        thereof shall not exceed the amount of default. If the lender under an Acquisition Loan is
        a person described in Code Section 4975(e)(2), the Acquisition Loan shall provide for a
        transfer of Plan assets upon default only upon and to the extent of the failure of the Plan
        to meet the payment schedule of the Acquisition Loan. A pledge of Company Stock must
        provide for the release of shares pledged, as provided in Subsection (b) below, upon the
        payment of any portion of the Acquisition Loan. An amendment of a loan in order to
        qualify under this Section shall not be a refinancing of the loan or the making of another
        loan.

                (b)     For each Plan Year during the duration of the Acquisition Loan, the
        number of shares of Company Stock released from any pledge and from the Loan
        Suspense Account must equal the number of shares acquired with the proceeds of the
        Acquisition Loan held immediately before release for the current Plan Year multiplied by
        a fraction, the numerator of which is the amount of principal and interest paid for that
        Plan Year and the denominator of which is the sum of the numerator plus the principal
        and interest to be paid for all future Plan Years. These years are determined without
        taking into account any possible extension or renewal periods. In the event the interest is
        variable, the interest to be paid in future years must be computed by using the interest
        rate applicable as of the end of the Plan Year. If collateral in the Loan Suspense Account
        includes more than one class of Company Stock, the number of shares of each class to be
        released for a Plan Year must be determined by applying the same fraction to each class.
        Notwithstanding the above, the number of shares of Company Stock released from any
        pledge and from the Loan Suspense Account for each Plan Year during the duration of an .
        Acquisition Loan may be determined by reference to principal payments only, if: (1) the
        Acquisition Loan provides for payments of principal and interest no less frequently than
        annually at a cumulative rate that is not less rapid at any time than level annual payments
        of those amounts for ten (10) years; (2) interest included in any payment is disregarded
        only to the extent that it would be determined to be interest under standard loan
        amortization tables; and (3) by reason of a renewal, extension, or refinancing during or
        prior to the Plan Year, the sum of the expired duration of the Acquisition Loan, the
        renewal period, the extension period, and the duration of a new Acquisition Loan do not
        exceed ten (10) years.

                (c)     Payments of principal and interest on any Acquisition Loan during a Plan
        Year shall be made by the Trustee, as directed by the Plan Administrator, only from (1)
        Plan Sponsor contributions made to the Trust to meet the Plan's obligation under an
        Acquisition Loan, earnings from Plan Sponsor contributions, and any cash dividends
        attributable to Company Stock given as collateral for an Acquisition Loan (both received
        during or prior to the Plan Year) and any cash dividends attributable to Company Stock
        acquired with the proceeds of an Acquisition Loan and allocated to Participants' ESOP
        Accounts; (2) the proceeds of a subsequent Acquisition Loan made to repay a prior

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         Acquisition Loan; and (3) the proceeds of the sale of shares of Company Stock held as
         collateral for the Acquisition Loan. The payments made with respect to an Acquisition
         Loan by the Plan during a Plan Year will not exceed an amount equal to the sum of such
         contributions and earnings described in clause (1) received during or prior to the year less
         such payments in prior years. Plan Sponsor contributions and earnings must be accounted
         for separately by the Plan until the Acquisition Loan is repaid.

                (d)     The provisions of this Section 5.1 shall continue to be applicable to shares
         of Company Stock acquired hereunder and held in the Loan Suspense Account even if the
         Plan ceases to be an employee stock ownership plan under Code Section 4975(e)(7).

         5.2     Use of Plan Assets to Purchase Company Stock. Except as otherwise specifically
  provided in the Plan, assets in the Plan may be used to acquire shares of Company Stock from
  shareholders or from any Plan Sponsor.

        5.3     Purchases of Company Stock. All purchases of Company Stock by the Fund shall
  be made at Fair Market Value of the Company Stock to the extent required by ERISA.

         5.4    Investment of Plan Assets. The Fund shall be invested primarily in Company
  Stock to the extent shares are available. The Trustee may invest and hold up to one hundred
  percent (100%) of the Fund in Company Stock.

       5.5    Transactions with a Disqualified Person. If there is a transaction involving
  Company Stock between the Plan and a Disqualified Person, the Plan must use a valuation of
  Company Stock as of the date of such transaction.

                                 SECTION6
            PAYMENT OF BENEFITS ON TERMINATION OF EMPLOYMENT

          6.1     Eligibility for Payment. A Participant who .has a Termination of Employment
  shall be eligible to receive payment of his vested Account.

         6.2    Timing of Payment. Subject to Section 9.1 of the Plan, payment of a Participant's
  Account shall commence prior to the last day of the fifth (5t11) Plan Year following the Plan Year
  in which occurs the Participant's Termination of Employment.

         6.3     Vesting. That portion of a Participant's Account in which he is vested as of a
  Valuation Date shall be computed based on years of Vesting Service in accordance with the
  following vesting schedule:




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                                     Years of                   Percentage
                                  Vesting Service                 Vested

                                     Less than 2                    0%
                                           2                       20%
                                           3                       40%
                                           4                       60%
                                           5                       80%
                                           6                       100%

         6.4     Cash-Out/Buyback.

                 (a)    The nonvested portion of the Account of a Participant who has had a
         Termination of Employment shall be forfeited as of the earlier of the date the Participant
         receives a distribution of the vested portion of his Account or the Participant's ·
         Termination Completion Date. For such purposes, a Participant who has had a
         Termination of Employment and who is not vested in any portion of his Account, the
         Participant shall be deemed to have received a distribution of his Account.

                 (b)     If a Participant who has received (or has been deemed to have received) a
         distribution of the vested portion of his Account is reemployed by a Plan Sponsor or an
         Affiliate prior to his Termination Completion Date and: (1) if the Participant's Account
         was partially vested, and the Participant repays to the Fund no later than the fifth
         anniversary of the Participant's reemployment by the Plan Sponsor or an Affiliate all of
         that portion of his vested Account which was paid to him; or (2) if the Participant's
         Account was not vested upon his Termination of Employment, then any portion of his
         Account which was forfeited shall be restored effective on the Valuation Date coinciding
         with or next following the repayment or the Participant's reemployment, respectively.
         The restoration on any Valuation Date of the forfeited portion of the Account of a
         Participant pursuant to the preceding sentence shall be made first from forfeitures
         available for allocation on that Valuation Date, to the extent available, and secondly from
         contributions by the Plan Sponsor. Only after restorations have been made shall the
         remaining net income be available for allocation under Section 4 of the Plan.

                 (c)    Notwithstanding anything contained in the Plan to the contrary, if all or
         any portion of a Participant's Account is forfeited, Company Stock allocated to the
         Account shall be forfeited only after other assets from such Account have been forfeited;
         provided, however, if interests in more than one class of Company Stock have been
         allocated to the Participant's Account, any forfeiture of such interests will apply in the
         same proportion to each class of Company Stock.

          6.5    Changes to Vesting Schedule. If a Plan amendment directly or indirectly changes
  the vesting schedule, the vesting percentage for each Participant in his Account accumulated to
  the date when the amendment is adopted shall not be reduced as a result of the amendment. In
  addition, any Paiiicipant with at least three (3) years of Vesting Service may irrevocably elect to
  remain under the pre-amendment vesting schedule with respect to all of his benefits accrued both
  before and after the amendment.

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         6.6     Suspension for Rehires. If a Participant has a Termination of Employment and is
  subsequently reemployed by a Plan Sponsor or an Affiliate prior to receiving a distribution of his
  Account under the Plan, such Participant shall not be entitled to a distribution under this Section
  while he is an Employee.

                                 SECTION7
            PAYMENT OF BENEFITS ON RETIREMENT DATE OR DISABILITY

          7 .1   Eligibility for Payment. A Participant who has reached a Retirement Date or
  incurs a Disability while an Employee shall be eligible to receive payment of his Account.

          7.2    Timing of Payment. Subject to Section 9.1 of the Plan, payment of a Participant's
  Account may commence prior to the last day of the Plan Year following the Plan Year in which
  occurs the Participant's Retirement Date or Disability while an Employee.

          7.3   Vesting. The Account of a Participant who has attained a Retirement Date, has
  attained Normal Retirement Age while an Employee, or has become subject to a Disability while
  an Employee shall be fully vested and nonforfeitable.

                                            SECTIONS
                                         DEATH BENEFITS

         8.1   Eligibility for Payment. If a Participant dies before receiving a distribution of his
  vested Account, his Beneficiary shall be eligible to receive payment of his Account.

          8.2    Timing of Payment. Subject to Section 9.1 of the Plan, payment of a Participant's
  Account may commence prior to the last day of the Plan Year following the Plan Year in which
  occurs the Participant's death. If a Participant dies after beginning to receive a distribution of his
  Account, the Participant's Beneficiary shall receive the undistributed portion of the Account in
  the form elected by the Participant.

          8.3   Vesting. The Account of a Participant who dies while an Employee shall be fully
  vested and nonforfeitable.

           8.4    Death Benefits under USERRA. In the case of a Participant who dies while
 . performing "qualified military service" (as defined in Code Section 414(u)(5)), the survivors of
   the Participant are entitled to any additional benefits (other than benefit accruals relating to the
   period of qualified military service) provided under the Plan, if any, had the Participant resumed
   and then terminated employment on account of death.

                                      SECTION9
                            GENERAL RULES ON DISTRIBUTIONS

          9.1    Form and General Timing Requirements.

                  (a)   If the vested Account balance of a Participant or a Beneficiary of a
          deceased Participant (in the case of a Participant who did not begin to receive payment of
          his vested Account balance before his death) is $1,000 or less, it shall be distributed in


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        one lump sum as soon as administratively feasible after the Participant or Beneficiary is
        eligible for a distribution pursuant to Section 6, 7, or 8, as applicable.

                (b)     If the vested Account balance of a Participant, or a Beneficiary of a
        deceased Participant (in the case of a Participant who did not begin to receive payment of
        his vested Account balance before his death) is $5,000 or less but more than $1,000, and
        the Pat1icipant or the Beneficiary of a deceased Participant is eligible for a distribution
        pursuant to Section 6, 7, or 8, as applicable, such vested Account shall be distributed in
        one cash lump sum upon a written request to the Plan Administrator by the Participant or
        Beneficiary for payment of such vested Account; provided, however, if such Participant
        or Beneficiary does not make a written request to the Plan Administrator for payment of
        the vested Account balance in cash or an election for a Direct Rollover pursuant to
        Section 9 .3 of the Plan, the Plan Administrator shall direct that such Account be paid in
        cash in a direct rollover to the individual retirement plan or arrangement designated by
        the Plan Administrator.

                (c)    If the vested Account balance of a Participant or a Beneficiary of a
        deceased Participant (in the case of a Participant who did not begin to receive payment of
        his vested Account balance before his death) exceeds $5,000, and the Participant or
        Beneficiary of a deceased Participant is eligible- for a distribution pursuant to Section 6, 7
        or 8, as applicable, the Participant or Beneficiary will receive payment of the Account
        after the Participant's or Beneficiary's written request to the Plan Administrator for
        payment of the of the vested Account balance in accordance with the Payment Policy and
        the following provisions:

                       (i)     except as provided in Subsection (a) and (b) of this Section,
               payment of the Participant's vested Account shal.l begin no earlier than the dates
               provided pursuant to Section 6, 7, or 8, as applicable; provided, however, that
               payment of a Participant's Account shall not be made without his request before
               he reaches Normal Retirement Age and, notwithstanding any provision of the
               Plan to the contrary, payment of a Participant's vested Account will commence
               not later than sixty (60) days after the last day of the Plan Year in which the
               Participant reaches Normal Retirement Age, attains a Retirement Date or the tenth
               (10th) anniversary of the Participant's participation in the Plan, whichever is
               latest;

                       (ii)    distribution of a Participant's vested Account shall be by either of
               the following methods: (A) in substantially equal periodic payments (not less
               frequently than annually) in cash over a period not longer than five (5) years,
               except that, for Participants eligible for payment pursuant to Section 6 hereof, this
               five (5) year period may be increased by one (1) year (up to five (5) additional
               years), for each $215,000 (or fraction thereof) by which such Participant's vested
               Account balance exceeds '$1,080,000; or (B) if so provided in the Payment Policy,
               in the form of a lump sum payment in cash, to the extent such vested Account
               balance does not exceed the limitation set forth in the Payment Policy; and




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                       (iii)   notwithstanding any other provision of this Subsection (c) to the
               contrary, unless otherwise provided in the Payment Policy, with respect to
               benefits payable pursuant to Section 6, payment of that portion of a Participant's
               vested Account held under the Plan that is attributable to Company Stock
               acquired with the proceeds of an outstanding Acquisition Loan, shall not be made
               until the close of the Plan Year following the Plan Year in which such Acquisition
               Loan has been paid in full.

               (d)     (1)     at any time during which the Primary Sponsor does not have an
               election in effect under Subchapter S of the Code, the Participant or Beneficiary
               will have the right to demand to receive payment of the Participant's Account in
               the form of Company Stock; and

                      (2)     at any time during which the Primary Sponsor has an election in
               effect under Subchapter S of the Code, in the sole discretion of the Plan
               Administrator, distributions under the Plan may be made in the form of Company
               Stock subject to immediate resale to the Primary Sponsor.

        Notwithstanding the foregoing, if sufficient cash is not held in the Fund at the time of the
        distribution to allow a cash distribution to all Participants to whom payment is to be
        made, payment of that portion of each affected Participant's Account attributable to
        Company Stock Subaccounts shall be made in kind in shares of Company Stock; and
        provided further that, the value of any fractional share or right to a fractional share shall
        be paid in cash. If cash is not available, then a fractional share shall be distributed in
        kind. In order to distribute in cash the value of any Company Stock, the Trustee may
        exchange any Company Stock for cash in the Other Investment Subaccounts of all
        Participants who are not then receiving payment to the extent the required amount of cash
        is available and shall immediately allocate the Company Stock to the Company Stock
        Subaccounts of all such Participants. Shares of Company Stock distributed pursuant to
        this Section shall be subject to the conditions described in Section 11 of the Plan.

                (e)     If the amount of the payment required to commence under the Plan cannot
        be ascertained by such date, or if it is not possible to make such payment on such date
        because the Plan Administrator has been unable to locate the Participant after making
        reasonable efforts to do so, a payment retroactive to such date may be made no later than
        sixty (60) days after the earliest date on which the amount of such payment can be
        ascertained or the date on which the Participant is located.

                (f)     Notwithstanding any other provision hereof, in the event that the total
        value of an amount directed to be paid pursuant to a "qualified domestic relations order"
        (as defined in Code Section 414(p)), is not in excess of $5,000, such amount shall be paid
        to the alternate payee or payees (as defined in Code Section 414(p)), identified in such
        order in one lump sum payment as soon as practicable after such order has been
        determined to be a qualified domestic relations order.




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          9.2    Adjustments for Income. Except for installment distributions, Accounts shall not
  be adjusted for earnings or losses incurred after the Valuation Date with respect to which the
  Account is valued for imminent payout purposes coinciding-with or preceding the date of
  distribution of the Account provided, however, that such Account shall be increased by any
  contributions allocated to the Account of the Participant after that Valuation Date and reduced by
  any distributions thereafter.

           9.3     Direct Rollovers. Notwithstanding any provisions of the Plan to the contrary that
  would otherwise limit a Distributee's election under this Section 9.3 of the Plan, a Distributee
  may elect, at the time and in the manner prescribed by the Plan Administrator, to have any
  pmiion of a distribution pursuant to this Section which is an Eligible Rollover Distribution paid
  directly to an Eligible Retirement Plan specified by the Distributee in a Direct Rollover so long
  as all Eligible Rollover Distributions to a Distributee for a calendar year total or are expected to
  total at least $200 and, in the case of a Distributee who elects to directly receive a p01iion of an
  Eligible Rollover Distribution and directly roll the balance over to an Eligible Retirement Plan,
  the portion that is to be directly rolled over totals at least $500. If the Eligible Rollover
  Distribution is one to which Code Sections 401(a)(l 1) and 417 do not apply, such Eligible
  Rollover Distribution may commence less than thirty (30) days after the notice required under
  Treasury Regulation Section 1.411 (a)-11 (c) is given, provided that:

                  (a)     the Plan Administrator clearly informs the Distributee that the Distributee
          has a right to a period of at least thirty (30) days after receiving the notice to consider the
          decision of whether or not to elect a distribution (and, if applicable, a particular
          distribution option); and

                  (b)     the Distributee, after rece1vmg the notice, affirmatively elects a
          distribution.

         Notwithstanding the foregoing, if the Distributee is a non-Spouse Beneficiary of a
  deceased Participant and a direct trustee-to-trustee transfer is made to an individual retirement
  account described in Code Section 408(a) or an individual retirement annuity described in Code
  Section 408(b) (other than an endowment contract):

                          (i)    the transfer shall be treated as an Eligible Rollover Distribution;

                         (ii)    the individual retirement plan shall be treated as an inherited
                  individual retirement account or individual retirement annuity (within the
                  meaning of Code Section 408(d)(3)(C)); and

                          (iii)  Code Section 40l(a)(9)(B) (other than clause (iv) thereof) shall
                  apply to such plan.

          9.4     Required Minimum Distributions. Notwithstanding any other provisions of the
  Plan:




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               (a)    Prior to the death of a Participant, all retirement payments hereunder shall:

                      (1)    be distributed to the Participant not later than the required
               beginning date (as defined below); or

                       (2)    be distributed, commencing not later than the required beginning
               date (as defined below):

                              (i)    in accordance with regulations prescribed by the Secretary
                      of the Treasury, over the life of the Participant or over the lives of the
                      Participant and his designated individual Beneficiary, if any; or

                              (ii)    in accordance with regulations prescribed by the Secretary
                      of the Treasury, over a period not extending beyond the life expectancy of
                      the Participant or the joint life and last survivor expectancy of the
                      Participant arid his designated individual Beneficiary, if any.

               (b)    (1)    If:

                             (i)    the distribution of a Participant's retirement payments have
                      begun in accordance with Subsection (a)(2) of this Section; and

                             (ii)    the Participant dies before his entire vested Account has
                      been distributed to him;

               then the remaining portion of his vested Account shall be distributed at least as
               rapidly as under the method of distribution being used under Subsection (a)(2) of
               this Section as of the date of his death.

                       (2)     If a Participant dies before the commencement of retirement
               payments hereunder, the entire interest of the Participant shall be distributed
               within five (5) years after his death.

                      (3)    If:

                              (i)    any portion of a Participant's vested Account is payable to
                      or for the benefit of the Participant's designated individual Beneficiary, if
                      any;

                               (ii)   that portion is to be distributed, in accordance with
                      regulations prescribed by the Secretary of the Treasury, over the life of the
                      designated individual Beneficiary or over a period not extending beyond
                      the life expectancy of the designated individual Beneficiary; and

                             (iii)  the distributions begin not later than one (1) year after the
                      date of the Participant's death or such later date as the Secretary of the
                      Treasury may by regulations prescribe;



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                 then, for purposes of paragraph (2) of this Subsection (b ), the portion referred to
                 in subparagraph (i) of this paragraph (3) shall be treated as distributed on the date
                 on which the distributions to the designated individual Beneficiary begin.

                         (4)      If the designated individual Beneficiary referred to in paragraph
                 (3)(i) of this Subsection (b) is the surviving Spouse of the Participant, then:

                               (i)     the date on which the distributions are required to begin
                        under paragraph (3 )(iii) of this Subsection (b) shall not be earlier than the
                        date on which the Participant would have attained age 70Yz; and

                               (ii)   if the surviving Spouse dies before the distributions to such
                        Spouse begin, this Subsection (b) shall be applied as if the surv1vmg
                        Spouse were the Participant.

                 (c)     For purposes of this Section, the term "requir.ed beginning date" means
         April 1 of the calendar year following the later of the calendar year in which the
         Participant attains age 70Yz or the calendar year in which the Participant retires, except
         that in the case of a person described in Section l(b)(3) of Appendix B the "required
         beginning date" shall be April lof the calendar year following the calendar year in which
         the Participant attains age 70Yz.

                (d)    Distributions will be made in accordance with Code Section 40l(a)(9) and
         the regulations issued thereunder, including the incidental benefit requirements.
         Notwithstanding the foregoing, any distributions pursuant to Code Section 401(a)(9) shall
         be administered in accordance with the requirements of Appendix C hereto.

          9.5    Distributions of Company Stock. Except as provided in Section 9.l(d), if a
  Participant receives a distribution from the Fund in the form of Company Stock and the
  Company Stock is not Publicly Traded, the Participant has a right to require that the Primary
  Sponsor repurchase the Company Stock distributed at the Fair Market Value of Company Stock
  pursuant to Section 11.3 of the Plan.

          9.6     Conversion of Company Stock in Accounts of Terminated Participants. For a
  Participant eligible to receive a distribution of his vested Account pursuant to Article 6 hereof,
  the Plan Administrator may provide, in a uniform and nondiscriminatory manner, for the transfer
  of Company Stock held in the Participant's vested Account out of such Account upon such terms
  and conditions as may be set forth from time to time in the Payment Policy.

                                       SECTION 10
                            DIVERSIFICATION OF INVESTMENTS

         10.1 Eligibility for Diversification Election. Each Participant who is an Employee and
  who has both completed ten (10) years of membership in the Plan and attained age 55 may elect
  within ninety (90) days after the close of each Plan Year in the election period described in
  Section 10.4 to direct the Plan to diversify a number of shares of Company Stock equal to (a)
  twenty-five percent ( 25%) of the Company Stock that has been allocated to the Participant's
  ESOP Account valued as of the Valuation Date preceding the date of diversification (b) reduced

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  by the number of shares of Company Stock previously distributed pursuant to this Section. The
  resulting number of shares of Company Stock may be rounded to the nearest whole integer. For
  the last year in which a Participant may make an election, this Section shall be applied by
  substituting fifty percent (50%) for twenty-five percent (25%).

           10.2 Transfers to Other Qualified Plans. The Participant who has the right to diversify
  under Section 10.1 may direct the Plan to transfer the portion of the Participant's ESOP Account
  that is covered by the election to another qualified plan of the Plan Sponsor which accepts such
  transfers, provided that such plan permits employee-directed investment among at least three (3)
  diversified investment funds, none of which invests in Company Stock to a substantial degree.

          10.3 Time Limit for Diversification. Company Stock subject to elections made under
  Section 10.1 shall be diversified no later than ninety (90) days after the period during which the
  election may be made.

         10.4 Election Period. As used in Section 10.1, "election period" shall mean the six (6)
  Plan Year period beginning with the Plan Year in which the Participant has attained age 55 and
  completed ten (10) years of membership in the Plan.

          10.5 Limitation of Diversification Election. Notwithstanding the preceding provisions
  of this Section, if the Fair Market Value of Company Stock allocated to a Participant's ESOP
  Account is five hundred dollars ($500) or less on the Valuation Date immediately preceding the
  first day on which a Participant is eligible to make an election described in Section 10 .1, then
  that Participant shall not be eligible to make a diversification election.

                                   SECTION11
                 CONDITIONS OF DISTRIBUTION OF COMPANY STOCK

           11.1 To the extent necessary to comply with federal or state securities laws, each share
  certificate for Company Stock distributed pursuant to the Plan shall be clearly marked
  "RESTRICTED" on its face and, to the extent appropriate at that time, shall bear on its reverse
  side legends to the following effect;

                (a)     That the securities evidenced by the certificate were issued and distributed
         without registration under the federal Securities Act of 1933 (the "1933 Act") or under
         the applicable laws of any state (collectively referred to as the "State Acts"), in reliance
         upon certain exemptive provisions of the 1933 Act or any applicable State Acts;

                (b)    That the securities cannot be sold or transferred unless, in the opinion of
         counsel reasonably acceptable to the Primary Sponsor, the sale or transfer would be:

                       (1)     pursuant to an effective registration statement under the 1933 Act
                or pursuant to an exemption :from registration, and

                       (2)     a transaction which is exempt under any applicable State Acts or
                pursuant to an effective registration statement under or in a transaction which is in
                compliance with the State Acts.


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                (c)     That the securities evidenced by the certificate were issued and distributed
         in accordance with the provisions of the Plan and Trust Agreement, are subject to the
         provisions thereof, and may not be sold or transferred except in compliance with those
         prov1s10ns.

          11.2 If necessary to comply with the 193 3 Act or any applicable State Acts, shares of
  Company Stock distribtttable under the Plan must be acquired for investment and not with a view
  to the public distribution thereof. In furtherance thereof, as a condition of receiving Company
  Stock under the Plan, the Distributee may be required to execute an investment letter and any
  other documents that in the opinion of counsel reasonably acceptable to the Primary Sponsor, as
  issuer, are necessary to comply with the 1933 Act or any applicable State Acts or any other
  applicable laws regulating the issuance or transfer of securities.

         11.3 (a)        At any time during which the Primary Sponsor does not have an election
         in effect under Subchapter S of the Code, each share of Company Stock acquired with the
         proceeds of an Acquisition Loan distributed from the Plan shall be subject to Put and
         First Refusal Rights. The Put Rights grant to the Distributee (or his heirs or legatees) the
         right to require the Primary Sponsor or its designee to purchase any shares of Company
         Stock which have been distributed from the Plan provided that the Company Stock is not
         Publicly Traded at the time (the "Put"). The Put shall be exercisable by giving written
         notice to the Primary Sponsor for a period of sixty (60) days following the date of
         distribution, and if the Put is not exercised within that 60-day period, for an additional
         period of 60 days which begins on the later of: (1) the first day of the Plan Year following
         the Plan Year of distribution; or (2) the day following the expiration of the initial 60-day
         period. The number of days between the tenth (10th) day and the date on which notice is
         actually given, iflater, must be added to the duration of the Put. The period during which
         the Put is exercisable does not include the time when a Distributee (or his heirs or
         legatees) is unable to exercise it because the Primary Sponsor is prohibited from honoring
         it by applicable federal or state law. Payment under the Put may not be restricted by the
         provisions of any loan or any other arrangement, including the terms of the Primary
         Sponsor's aiiicles of incorporation, unless required by applicable state law.

                The terms of a Put exercised pursuant to this Section shall provide that:

                        (1)     In the event that a Participant has received a lump sum distribution
                of his vested Account in the form of Company Stock in accordance with Section
                11.1, the amount to be paid by the Company for the Company Stock under the Put
                shall be paid in substantially equal yearly payments beginning not less than thirty
                (30) days after the exercise of the Put and over five (5) years; provided, that the
                Company may prepay such obligation without penalty at any time. The Company
                shall secure the payments under the Put with the Company Stock so purchased
                and the unpaid balance of such payments shall be credited with interest at the
                prime rate of interest as reported in the Wall Street Journal.

                        (2)    In the event that a Participant has received an installment
                distribution of his vested Account in the form of Company Stock in accordance
                with Section 11.1, the amount to be paid by the Company for the Company Stock

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                 under the Put shall be paid not less than thirty (30) days after the exercise of the
                 Put.

                 The First Refusal Rights provide that prior to any sale of Company Stock which is
         not Publicly Traded at that time, the Distributee (or his heirs or legatees) must first offer
         the Company Stock which he wishes to sell to the Primary Sponsor or its designee at the
         greater of: (1) the Fair Market Value of Company Stock; or (2) the same purchase price
         and on the same terms as a bona fide offer made by a third party within the preceding
         fourteen (14) days to whom the Distributee (or his heirs or legatees) desires to sell the
         Company Stock, and that if the Primary Sponsor or its designee is not willing to purchase
         the Company Stock within fourteen (14) days after receipt by the Primary Sponsor of
         written notification by the Distributee of the purchase price and payment terms, then the
         Distributee (or his heirs or legatees) may proceed to sell the Company Stock to the third
         party in accordance with the offer within twenty-eight (28) days after receipt by the
         Primary Sponsor of the written notification. In no event may the Company Stock be sold
         or transferred for value, nor shall the Primary Sponsor recognize any purchaser or
         transferee as the owner of the Company Stock, unless the terms of the First Refusal
         Rights, as specified above, have been followed.

                 (b)    Except as provided in Sections 9.l(d) and ll.3(a) above, no Company
         Stock acquired with the proceeds of an Acquisition Loan may be subject to a put, call,
         option, buy-sell or similar arrangement while held by or when distributed from the Plan.

                (c)     The provisions of this Section 11.3 shall continue to be applicable to
         shares of Company Stock acquired with the proceeds of an Acquisition Loan even if the
         Plan ceases to be an employee stock ownership plan under Code Section 4975(e)(7).

                (d)     Each share of Company Stock distributed from the Plan may contain
         legends indicating the rights contained in this Section 11.3 of the Plan.

                                       SECTION 12
                                VOTING OF COMPANY STOCK

          12.l Voting Provisions. Except as provided in this Section 12.1, in instances where the
  Trustee has discretionary authority under the Trust, the Trustee shall vote shares of Company
  Stock held in the Fund. In all other cases, except as provided in this Section 12.1, the Trustee
  shall vote shares of Company Stock held in the Fund in the manner directed by the ESOP
  Committee. As to any corporate matter which involves the voting of shares of Company Stock
  with respect to the approval or disapproval of any merger or consolidation, recapitalization,
  reclassification, liquidation, dissolution, sale of substantially all of the assets or flllY similar
  transaction as provided in regulations issued by the Secretary of the Treasury, the Trustee shall
  vote shares of Company Stock held in the Fund as follows:

                 (a)    Shares of Company Stock held in Accounts for which the Trustee has
         received instructions from Participants shall be voted. in accordance with those
         instructions, unless the fiduciary requirements of ERISA require otherwise. In the


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         absence of voting instructions by a Participant, shares of Company Stock held in a
         Participant's Account shall be voted by the Trustee.

                (b)     Shares of Company Stock held in the Loan Suspense Account shall be
         voted by the Trustee.

                (c)     The Primary Sponsor shall furnish the Trustee, Participants and
         Beneficiaries, and the ESOP Committee with notices and information statements when
         voting or other rights as to Company Stock are to be exercised.

          12.2 Other Decisions. All decisions affecting Company Stock held under the Fund
  which do not involve voting of such Company Stock, including, without limitation, decisions to
  reject or consent to tender or exchange offers and similar decisions, shall be determined by the
  Trustee, subject to the direction of the ESOP Committee, unless the Trustee has been granted
  discretionary authority over the matter or fiduciary requirements ofERISA require otherwise.

                                      SECTION 13
                              ADMINISTRATION OF THE PLAN

           13 .1 Trust Agreement. The Primary Sponsor shall establish a Trust with the Trustee
  designated by the Board of Directors for the management of the Fund, which Trust shall form a
  part of the Plan and is incorporated herein by reference.

          13.2 Operation o:f the Plan Administrator. The Primary Sponsor shall appoint a Plan
  Administrator. If an organization is appointed to serve as the Plan Administrator, then the Plan
  Administrator may designate in writing one or more persons who may act on behalf of the Plan
  Administrator. If more than one person is so designated with respect to the same administrative
  function, a majority of such persons shall constitute a quorum for the transaction of business and
  shall have the full power to act on behalf of the Plan Administrator. The Primary Sponsor shall
  have the right to remove the Plan Administrator at any time by notice in writing. The Plan
  Administrator may resign at any time by written notice of resignation to the Trustee and the
  Primary Sponsor. Upon removal or resignation of the Plan Administrator, or in the event of the
  dissolution of the Plan Administrator, the Primary Sponsor shall appoint a successor.

         13.3    Fiduciary Responsibility.

                  (a) · The Plan Administrator, as a Named Fiduciary, may allocate its fiduciary
         responsibilities among Fiduciaries, other than the Trustee, designated in writing by the
         Plan Administrator and may designate in writing persons other than the Trustee to cany
         out its fiduciary responsibilities under the Plan. The Plan Administrator may remove any
         person designated to carry out its fiduciary responsibilities under the Plan by notice in
         writing to such person.

                (b)      The Plan Administrator and each other Fiduciary may employ persons to
         perform services and to render advice with regard to any of the Fiduciary's
         responsibilities under the Plan. Charges for all such services performed and advice
         rendered may be paid by the Fund to the extent permitted by ERISA.


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                (c)    Each Plan Sponsor shall indemnify and hold harmless each person
        constituting the Plan Administrator or the ESOP Committee, except those individuals
        who are not a Plan Sponsor or an employee of a Plan Sponsor, if any, from and against
        any and all claims, losses, costs, expenses (including, without limitation, attorney's fees
        and court costs), damages, actions or causes of action arising from, on account of or in
        connection with the performance by such person of his duties in such capacity, other than
        such of the foregoing arising from, on account of or in connection with the willful neglect
        or willful misconduct of such person. Each Plan Sponsor shall also indemnify and hold
        harmless the Trustee pursuant to the terms of the Trust.

        13 .4   Duties of the Plan Administrator.

                 (a)    The Plan Administrator shall advise the Trustee with respect to all
        payments under the terms of the Plan and shall direct the Trustee in writing to make such
        payments from the Fund; provided, however, in no event shall the Trustee be required to
        make such payments if the Trustee has actual lmowledge that such payments are contrary
        to the terms of the Plan and the Trust.

                (b)     The Plan Administrator shall from time to time establish rules, not
        contrary to the provisions of the Plan and the Trust, for the administration of the Plan and
        the transaction of its business. All elections and designations under the Plan by a
        Participant or Beneficiary shall be made on forms prescribed by the Plan Administrator.
        The Plan Administrator shall have discretionary authority to construe the terms of the
        Plan and shall determine all questions arising in the administration, interpretation and
        application of the Plan, including, but not limited to, those concerning eligibility for
        benefits and it shall not act so as to discriminate in favor of any person. All
        determinations of the Plan Administrator shall be conclusive and binding on all
        Employees, Participants, Beneficiaries and Fiduciaries, subject to the provisions of the
        Plan and the Trust and subject to applicable law.

                 (c)    The Plan Administrator shall furnish Participants and Beneficiaries with
        all disclosures now or hereafter required by BRISA or the Code. The Plan Administrator
        shall file, as required, the various reports and disclosures concerning the Plan and its
        operations as required by BRISA and by the Code, and shall be solely responsible for
        establishing and maintaining all records of the Plan and the Trust.

               (d)    The Fair Market Vahie of shares of Company Stock shall be determined as
        of each Valuation Date. In the case of a transaction between the Plan and a disqualified
        person within the meaning of Code Section 4975, the Fair Market Value of shares of
        Company Stock must be determined as of the date of the transaction.

                (e)     The statement of specific duties for a Plan Administrator in this Section is
        not in derogation of any other duties which a Plan Administrator has under the provisions
        of the Plan or the Trust or under applicable law.

         13.5 Investment Manager. The ESOP Committee may, by action in writing certified by
  notice to the Trustee, appoint an Investment Manager. Any Investment Manager may be


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  removed in the same manner in which appointed, and in the event of any removal, the
  Investment Manager shall, as soon as possible, but in no event more than thirty (30) days after
  notice of removal, tum over all assets managed by it to the Trustee or to any successor
  Investment Manager appointed, and shall make a full accounting to the ESOP Committee with
  respect to all assets managed by it since its appointment as an Investment Manager.

          13.6 ESOP Committee. The Primary Sponsor may, by action in writing certified by
  notice to the Trustee, appoint an ESOP Committee. The Primary Sponsor shall have the right to
  remove any person on the .ESOP Committee at any time by notice in writing to such person. A
  person on the ESOP Committee may resign at any time by written notice of resignation: to the
  Primary Sponsor. Upon such removal or resignation, or in the event of the death of a person on
  the ESOP Committee, the Primary Sponsor may appoint a successor. Until a successor has been
  appointed, the remaining persons on the ESOP Committee may continue to act as the ESOP
  Committee.

          13.7 Action by a Plan Sponsor. Any action to be taken by a Plan Sponsor shall be
  taken by resolution or written direction duly adopted by its board of directors or appropriate
  governing body, as the case may be; provided, however, that by such resolution or written
  direction, the board of directors or appropriate governing body, as the case may be, may delegate
  to any officer or other appropriate person of a Plan Sponsor the authority to take any such actions
  as may be specified in such resolution or written direction, other than the power to amend,
  modify or terminate the Plan or the Trust or to determine the basis of any Plan Sponsor
  contributions.

          13. 8 Expenses of the Plan and Trust. All ex:penses of administering the Plan and Trust
  shall be charged to and paid out of the Trust assets to the extent permissible under ERISA. The
  Primary Sponsor in its discretion may pay all or any portion of such expenses, and payment of
  expenses by the Primary Sponsor shall not be deemed to be employer contributions.

          13.9 Corrective Action. Notwithstanding any provision of the Plan to the contrary, the
  Plan Sponsor may make corrective contributions, allocations, or distributions or take any other
  corrective action required to comply with, or otherwise permitted by, any program provided
  pursuant to applicable law, including without limitation the Employee Plans Compliance
  Resolution System or any successor guidance.

                                        SECTION 14
                                 CLAIM REVIEW PROCEDURE

          14.l Notice of Denial. If a Participant or a Beneficiary is denied a claim for benefits
  under a Plan, the Plan Administrator shall provide to the claimant written notice of the denial
  within ninety (90) days after the Plan Administrator receives the claim, unless special
  circumstances require an extension of time for processing the claim. If such an extension of time
  is required, written notice of the extension shall be furnished to the claimant prior to the
  termination of the initial 90-day period. In no event shall the extension exceed a period of ninety
  (90) days from the end of such initial period. Any extension notice shall indicate the special
  circumstances requiring the extension of time, the date by which the Plan Administrator expects
  to render the final decision, the standards on which entitlement to benefits are based, the


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  unresolved issues that prevent a decision on the claim and the additional information needed to
  resolve those issues.

          14.2 Contents of Notice of Denial. If a Participant or Beneficiary is denied a claim for
  benefits under the Plan, the Plan Administrator shall provide to such claimant written notice of
  the denial which shall set f01ih, in language calculated to be understood by the claimant:

                 (a)     the specific reasons for the denial;

                 (b)     specific references to the pertinent provisions of the Plan on which the
         denial is based;

                (c)     a description of any additional material or information necessary for the
         claimant to perfect the claim and an explanation of why such material or information is
         necessary; and

                 (d)    an explanation of the Plan's claim review procedures, and the time limits
         applicable to such procedures, including a statement of the claimant's right to bring a
         civil action under Section 502(a) of ERISA following an adverse benefit determination
         on review.

          14.3 Right to Review. After receiving written notice of the denial of a claim or that a
  domestic relations order is a qualified domestic relations order, a claimant or his representative
  shall be entitled to:

                (a)      request a full and fair review of the denial of the claim or determination
         that a domestic relations order is a qualified domestic relations order by written
         application to the Plan Administrator;

                 (b)    request, free of charge, reasonable access to, and copies of, all documents,
         records, and other information relevant to the claim;

                 (c)     submit written comments, documents, records, and other information
         relating to the denied claim to the Plan Administrator; and

                (d)     a review that takes into account all comments, documents, records, and
         other information submitted by the claimant relating to the claim, without regard to
         whether such inf01mation was submitted or considered in the initial benefit
         determination.

          14.4 Application for Review. If the claimant wishes a review of the decision denying
  his claim to benefits under the Plan or if a claimant wishes to appeal a decision that a domestic
  relations order is a qualified domestic relations order, he must submit the written application to
  the Plan Administrator within sixty (60) days after receiving written notice of the denial or notice
  that the domestic relations order is a qualified domestic relations order.

        14.5 Hearing. Upon receiving such written application for review, the Plan
  Administrator may schedule a hearing for purposes of reviewing the claimant's claim, which

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  hearing shall take place not more than thirty (30) days from the date on which the Plan
  Administrator received such written application for review.

          14.6 Notice of Hearing. At least ten (10) days prior to the scheduled hearing, the
  claimant and his representative designated in writing by him, if any, shall receive written notice
  of the date, time, and place of such scheduled hearing. The claimant or his representative, if any,
  may request that the hearing be rescheduled, for his convenience, on another reasonable date or
  at another reasonable time or place.

          14.7 Counsel. All claimants requesting a review of the decision denying their claim for
  benefits may employ counsel for purposes of the hearing.

          14.8 Decision on Review. No later than sixty (60) days following the receipt of the
  written application for review, the Plan Administrator shall submit its decision on the review in
  writing to the claimant and to his representative, if any, unless the Plan Administrator determines
  that special circumstances (such as the need to hold a hearing) require an extension of time, to a
  day no later than one hundred twenty (120) days after the date of receipt of the written
  application for review. If the Plan Administrator determines that the extension of time is
  required, the Plan Administrator shall furnish to the claimant written notice of the extension
  before the expiration of the initial sixty (60) day period. The extension notice shall indicate the
  special circumstances requiring an extension of time and the date by which the Plan
  Administrator expects to render its decision on review. In the case of a decision adverse to the
  claimant, the Plan Administrator shall provide to the claimant written notice of the denial which
  shall include:

                 (a)    the specific reasons for the decision;

                 (b)    specific references to the pertinent provisions of the Plan on which the
         decision is based;

                 (c)     a statement that the claimant is entitled to receive, upon request and free of
         charge, reasonable access to, and copies of, all documents, records, and other information
         relevant to the claimant's claim for benefits; and

                 (d)    an explanation of the Plan's claim review procedures, and the time limits
         applicable to such procedures, including a statement of the claimant's right to bring an
         action under Section 502(a) ofERlSA following the denial of the claim upon review.

         14.9 Limitations. No legal action may be commenced or maintained against the Plan
  more than ninety (90) days after the Plan Administrator's decision on review pursuant to Section
  14.8 of the Plan. Before any person may bring legal action against the Plan, Plan Administrator,
  or any other designated claim or review official, all claims procedures under Section 14.8 of the
  Plan must be exhausted.




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                                     SECTION15
                 LIMITATION. OF ASSIGNMENT, PAYMENTS TO LEGALLY
               INCOMPETENT DISTRIBUTEE, AND UNCLAIMED PAYMENTS

          15.1 Anti-Alienation. No benefit which shall be payable under the Plan to any person
  shall be subject in any manner to anticipation, alienation, sale, transfer, assignment, pledge,
  encumbrance or charge, and any attempt to anticipate, alienate, sell, transfer, assign, pledge,
  encumber or charge the same shall be void; and no such benefit shall in any manner be liable for,
  or subject to, the debts, contracts, liabilities, engagements or torts of any person, nor shall it be
  subject to attachment or legal process for, or against, such person, and the same shall not be
  recognized under the Plan, except to such extent as may be required by law. Notwithstanding the
  above, this Section shall not apply to a "qualified domestic relations order" (as defined in Code
  Section 414(p)), and benefits may be paid pursuant to the provisions of such an order. The Plan
  Administrator shall develop procedures (in accordance with applicable federal regulations) to
  determine whether a domestic relations order is qualified, and, if so, the method and the
  procedures for complying therewith. In addition, a distribution to an "alternate payee" (as
  defined in Code Section 414(p)) shall be permitted if such distribution is authorized by a
  qualified domestic relations order, even if the affected Participant has not yet separated from
  service and has not yet reached the "earliest retirement age" (as defined in Code Section 414(p)).

          15.2 Exceptions to Anti-Alienation. Notwithstanding any other provision of the Plan,
  the benefit of a Participant shall be subject to legal process and may be assigned, alienated or
  attached pursuant to a court judgment or settlement provided:

                 (a)    such Participant is ordered or required to pay the Plan in accordance with
         the following:

                         (1)     a judgment or conviction for a crime involving the Plan;

                        (2)    a civil judgment entered by a court in an action brought m
                 connection with a violation of part 4 of subtitle B of Title I of ERIS A; or

                         (3)     a settlement agreement between such Participant and the Secretary
                 of Labor, in connection with a violation (or alleged violation) of part 4 of subtitle
                 B of Title I of ERISA by a fiduciary or any other person; and

                (b)     the judgment, order, decree, or settlement agreement shall expressly
         provide for the offset of all or part of the amount ordered or required to be paid to the
         Plan against such Participant's benefits under the Plan.

          15.3 Termination of Payment. If any person who shall be entitled to any benefit under
  the Plan shall become bankrupt or shall attempt to anticipate, alienate, sell, transfer, assign,
  pledge, encumber or charge such benefit under the Plan, then the payment of any such benefit in
  the event a Participant or Beneficiary is entitled to payment shall, in the discretion of the Plan
  Administrator, cease and terminate and in that event the Plan Administrator shall direct the
  Trustee to hold or apply the same for the benefit of such person, his Spouse, children, other
  dependents or any of them in such manner and in such proportion as the Plan Administrator shall
  determine.

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          15.4 Minors and Incompetents. Whenever any benefit which shall be payable under the
  Plan is to be paid to or for the benefit of any person who is then a minor or determined to be
  incompetent by qualified medical advice, the Plan Administrator need not require the
  appointment of a guardian or custodian, but shall be authorized to cause the same to be paid over
  to the person having custody of such minor or incompetent, or to .cause the same to be paid to
  such minor or incompetent without the intervention of a guardian or custodian, or to cause the
  same to be paid to a legal guardian or custodian of such minor or incompetent if one has been
  appointed or to cause the same to be used for the ·benefit of such minor or incompetent.

          15.5 Missing Participants. If the Plan Administrator cannot ascertain the whereabouts
  of any Participant to whom a payment is due under the Plan, the Plan Administrator may direct
  that the payment and all remaining payments otherwise due to the Participant be cancelled on the
  records of the Plan and the amount thereof applied as a forfeiture in accordance with Plan
  Sections 3.3 and 4.1 except that, in the event the Participant later notifies the Plan Administrator
  of his whereabouts and requests the payments due to him under the Plan, the forfeited amount
  shall be restored either from Trust income or by a special contribution by the Plan Sponsor to the
  Plan, as determined by the Plan Administrator, in an amount equal to the payment to be paid to
  the Participant.

                                       SECTION 16
                             PROHIBITION AGAINST DIVERSION

           At no time shall any part of the Fund be used for or diverted to purposes other than the
  exclusive benefit of the Participants or their Beneficiaries, subject, however, to the payment of
  all taxes an~ administrative expenses and subject to the provisions of the Plan with respect to
  returns of contributions. Expenses incun-ed in the administration of the Plan shall be paid from
  the Trust, to the extent permitted by ERISA, unless such expenses are paid by the Plan
  Sponsor; provided, further, that the Plan Sponsor may be reimbursed by the Fund, to the extent
  permitted by ERISA, for Plan expenses originally paid by the Plan Sponsor.

                                         SECTION 17
                                    LIMITATION OF RIGHTS

          Participation in the Plan shall not give any Employee any right or claim except to the
  extent that such right is specifically fixed under the terms of the Plan. The adoption of the Plan
  and the Trust by any Plan Sponsor shall not be construed to give any Employee a right to be
  continued in the employ of a Plan Sponsor or as interfering with the right of a Plan Sponsor to
  terminate the employment of any Employee at any time.

                                   SECTION 18
                       AMENDMENT TO OR TERMINATION OF THE
                              PLAN AND THE TRUST

          18.l Right of Primary Sponsor to Amend or Terminate. The Primary Sponsor reserves
  the right at any time to modify or amend or terminate the Plan or the Trust in whole or in part;
  provided, however, that the Primary Sponsor shall have no power to modify or amend the Plan in
  such manner as would cause or permit any portion of the funds held under a Plan to be used for,


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  or diverted to, purposes other than for the exclusive benefit of Participants or their Beneficiaries,
  or as would cause or permit any portion of a fund held under the Plan to become the property of
  a Plan Sponsor; and provided further, that the duties or liabilities of the Trustee shall not be
  modified without its written consent. No such modifications or amendments shall have the effect
  of retroactively changing or depriving Participants or Beneficiaries of rights already accrued
  under the Plan. No Plan Sponsor other than the Primary Sponsor shall have the right to so
  modify, amend or terminate the Plan or the Trust. Notwithstanding the foregoing, each Plan
  Sponsor may terminate its own participation in the Plan and Trust pursuant to the Plan.

          18.2 Right of Plan Sponsor to Terminate Participation. Each Plan Sponsor other than
  the Primary Sponsor shall have the right to terminate its participation in the Plan and Trust by
  resolution of its board of directors or other appropriate governing body and notice in writing to
  the Primary Sponsor unless such termination would result in the disqualification of the Plan or
  the Trust or would adversely affect the exempt status of the Plan or the Trust as to any other Plan
  Sponsor. If contributions by or on behalf of a Plan Sponsor are completely terminated, the Plan
  and Trust shall be deemed terminated as to such Plan Sponsor. Any termination by a Plan
  Sponsor shall not be a termination as to any other Plan Sponsor.

         18.3    Plan Termination.

                 (a)    If the Plan is terminated by the Primary Sponsor, or if contributions to the
         Trust are permanently discontinued, it shall terminate as to all Plan Sponsors and the
         Fund shall be used, subject to the payment of expenses and taxes, for the benefit of
         Participants and Beneficiaries, and for no other purposes, and the Account of each
         affected Participant shall be fully vested and nonforfeitable, notwithstanding the
         provisions of the Section of the Plan which sets forth the vesting schedule.

                 (b)    In the event of the partial termination of the Plan, each affected
         Participant's Account shall be fully vested and nonforfeitable, notwithstanding the
         provisions of the Section of the Plan which sets forth the vesting schedule.

          18.4 Payments Upon Plan Termination. In the event of the termination of the Plan or
  the Trust with respect to a Plan Sponsor, the Accounts of the Participants with respect to the Plan
  as adopted by such Plan Sponsor shall be distributed in accordance with the provisions of the
  Plan pursuant to the instructions of the Plan Administrator; provided that the Trustee shall not be
  required to make any distribution until it receives a copy of an Internal Revenue Service
  determination letter to the effect that the termination does not affect the qualified status of the
  Plan or the exempt status of the Trust.

          18.5 Plan Merger. In the case of any merger or consolidation of the Plan with, or any
  transfer of the assets or liabilities of the Plan to, any other plan qualified under Code Section
  401, the terms of the merger, consolidation, or transfer shall be such that each Participant would
  receive (in the event of termination of the Plan or its successor immediately thereafter) a benefit
  which is no less than the benefit which the Participant would have received in the event of
  termination of the Plan immediately before the merger, consolidation, or transfer.




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       18.6 Optional Benefits. Notwithstanding any other prov1s1on of the Plan, an
  amendment to the Plan --

                (a)     which eliminates or reduces an early retirement benefit, if any, or which
         eliminates or reduces a retirement-type subsidy (as defined in regulations issued by the
         Department of the Treasury), if any, or

                (b)    which eliminates an optional form of benefit (except to the extent
         otherwise provided in Treasury Regulations);

  shall not be effective with respect to benefits attributable to service before the amendment is
  adopted. In the case of a retirement-type subsidy described in Subsection (a) above, this Section
  shail be applicable only to a Participant who satisfies, either before or after the amendment, the
  preamendment conditions for the subsidy.

                                      SECTION 19
                          ADOPTION OF THE PLAN BY AFFILIATES

          Any corporation or other business entity related to the Primary Sponsor by :function or
  operation and any Affiliate, if the corporation, .business entity or Affiliate is authorized to do so
  by written direction adopted by the Board of Directors, may adopt the Plan and the related Trust
  by action of the board of directors or other appropriate governing body of such corporation,
  business entity or Affiliate. Any adoption shall be evidenced by certified copies of the
  resolutions of the foregoing board of directors or governing body indicating the adoption and by
  the execution of the Trust by the adopting yorporation, or business entity or Affiliate. The
  resolution shall state and define the effective date of the adoption of the Plan by the Plan Sponsor
  and, for the purpose of Code Section 415, the "limitation year" as to such Plan Sponsor.
  Notwithstanding the foregoing, however, ifthe Plan and Trust as adopted by an Affiliate or other
  corporation or business entity under the foregoing provisions shall fail to rece'ive the initial
  approval of the Internal Revenue Service as a Qualified Plan and Trust under Code Sections
  40l(a) and 501(a), any contributions by the Affiliate or other corporation or business entity after
  payment of all expenses will be returned to such Plan Sponsor free of any trust, and the Plan and
  Trust shall terminate, as to the adopting Affiliate or other corporation or business entity.

                                   SECTION20
                   QUALIFICATION AND RETURN OF CONTRIBUTIONS

           20.1 Initial Qualification Failure. If the Plan and the related Trust fail to receive the
  initial approval ofthe Internal Revenue Service as a Qualified Plan and trust within one (1) year
  after the date of denial of qualification: (a) the contribution of a Plan Sponsor after payment of
  all expenses will be returned to a Plan Sponsor free of the Plan and Trust; (b) contributions made
  by a Participant shall be returned to the Paiiicipant who made the contributions; and (c) the Plan
  and Trust shall thereupon terminate.

         20.2 Deductibility. All Plan Sponsor contributions to the Plan are contingent upon
  deductibility. To the extent permitted by the Code and other applicable laws and regulations
  thereunder, upon a Plan Sponsor's request, a contribution which was made by reason of a


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  mistake of fact or which was nondeductible under Code Section 404, shall be returned to a Plan
  Sponsor within one (1) year after the payment of the contribution, or the disallowance of the
  deduction (to the extent disallowed), whichever is applicable.

         In the event of a contribution which was made by reason of a mistake of fact or which
  was nondeductible, the amount to be returned to the Plan Sponsor shall be the excess of the
  contribution above the amount that would have been contributed had the mistake of fact or the
  mistake in determining the deduction not occmTed, less any net loss attributable to the excess.
  Any net income attributable to the excess shall not be returned to the Plan Sponsor. No return of
  any portion of the excess shall be made to the Plan Sponsor if the return would cause the balance
  in a Participant's Account to be less than the balance would have been had the mistaken
  contribution not been made.

                                   SECTION21
                   ERISA ARBITRATION AND CLASS ACTION WAIVER

         21.1 Arbitration Requirement and Procedure. Subject to and without waiver of full
  compliance with the Plan's claims procedures as described in Section 14 which, to the extent
  applicable, must be exhausted with respect to any claim before any arbitration pursuant to this
  Section 21, all Covered Claims must be resolved exclusively pursuant to the provisions of this
  Section 21 (the "Arbitration Procedure").

                  (a)     Covered Claims. Any claim made by or on behalf of an Eligible
         Employee, Participant or Beneficiary (a "Claimant") which arises out of, relates to, or
         concerns this Plan, the Trust Agreement, or the Trust, including without limitation, any
         claim for benefits under the Plan, Trust Agreement, or Trust; any claim asserting a breach
         of, or failure to follow, the Plan or Trust; and any claim asserting a breach of, or failure to
         follow, any provision of ERISA or the Code, including without limitation claims for
         breach of fiduciary duty, ERISA § 510 claims, and claims for failure to timely provide
         notices or information required by ERISA or the Code (collectively, "Covered Claims"),
         shall be resolved exclusively by binding arbitration administered in accordance with the
         National Rules for the Resolution of Employment Disputes (the "Rules") of the American
         Arbitration Association ("AAA") then in effect. Under no circumstances are the AAA
         Supplementary Rules for Class Arbitrations to be used. If the Covered Claims solely
         involve (i) claims under ERISA § 502(a)(l)(B) to recover benefits due to the Claimant
         under the terms of the Plan, to enforce the Claimant's rights under the terms of the Plan,
         or to clarify the Claimant's rights to future benefits under the terms of the Plan, and/or
         (ii) claims for penalties under ERISA § 502(c), the Covered Claims shall be submitted to
         and decided by only one (1) arbitrator. For all other disputes, the Covered Claims shall
         be submitted to and decided by three (3) arbitrators. Claimant shall assert all Covered
         Claims in the same arbitration and shall not split Covered Claims. If, for example, a
         Claimant wishes to pursue both a claim for benefits under ERISA § 502(a)(l)(B) and a
         claim for breach of fiduciary duty under ERISA § 502(a)(2) and/or ERISA § 502(a)(3),
         the Claimant shall first exhaust the claims procedure described in Section 8.10 of the Plan
         to the extent the claims procedure is applicable and then assert both claims in one
         arbitration demand. The judgment on the final award rendered by the arbitrator(s) may
         be entered in any court having jurisdiction thereof and shall be res judicata as to all

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        Covered Claims that the Claimant asserted or could have asserted in the arbitration
        demand.

                 (b)    No Group, Class, or Representative Arbitrations. All Covered Claims
        must be brought solely in the Claimant's individual capacity and not in a representative
        capacity or on a class, collective, or group basis. Each arbitration shall be limited solely
        to one Claimant's Covered Claims, and that Claimant may not seek or receive any
        remedy which has the purpose or effect of providing additional benefits or monetary or
        other relief to any Eligible Employee, Participant or Beneficiary other than the Claimant.
        For instance, with respect to any claim brought under ERISA § 502(a)(2) to seek
        appropriate relief under ERISA § 409, the Claimant's remedy, if any, shall be limited to
        (i) the alleged losses to the Claimant's individual Account resulting from the alleged
        breach of :fiduciary duty, (ii) a pro-rated portion of any profits allegedly made by a
        :fiduciary through the use of Plan assets where such pro-rated amount is intended to
        provide a remedy solely to Claimant's individual Account, and/or (iii) such other
        remedial or equitable relief as the arbitrator( s) deems proper so long as such remedial or
        equitable relief does not include or result in the provision of additional benefits or
        monetary relief to any Eligible Employee, Participant or Beneficiary other than the
        Claimant, and is not binding on the Plan Administrator or Trustee with respect to any
        Eligible Employee, Participant or Beneficiary other than the Claimant. The requirement
        that (x) all Covered Claims be brought solely in a Claimant's individual capacity and not
        in a purported group, class, collective, or representative capacity, and (y) that no
        Claimant shall be entitled to receive, and shall not be awarded, any relief other than
        individual relief, shall govern irrespective of any AAA rule or decision to the contrary
        and is a material and non-severable term of this Section 21. The arbitrator(s) shall
        consequently have no jurisdiction or authority to compel or permit any class, collective,
        or representative action in arbitration, to consolidate different arbitration proceedings, or
        to join any other party to any arbitration. Any dispute or issue as to the applicability or
        validity of this Section 21(b) (the "Class Action Waiver") shall be determined by a court
        of competent jurisdiction. Moreover, nothing in this Arbitration Procedure shall preclude
        seeking interim or provisional relief or remedies in aid of arbitration from a court of
        competent jurisdiction. In the event a court of competent jurisdiction were to find these
        requirements to be unenforceable or invalid, then the entire Arbitration Procedure (i.e., all
        of this Section 14) shall be rendered null and void in all respects.

                (c)     Selection of Arbitrator. The arbitrator(s) shall be mutually acceptable to
        all parties to the dispute and must be attomey(s) with prior experience with ERISA
        claims. The arbitrator(s) need not be selected from the AAA's panel of arbitrators if the
        parties to the dispute can reach agreement on the. selection of the arbitrator(s). If,
        however, the parties cannot agree on the selection of the arbitrator(s) within twenty-one
        (21) days of the demand for arbitration, then the arbitrator(s) shall be selected pursuant to
        the AAA's National Rules for the Resolution of Employment Disputes; provided,
        however, that (i) the list of potential arbitrators provided by the AAA shall be limited to
        attorneys with prior ERISA experience; (ii) for an arbitration to be heard by one
        arbitrator, the AAA shall provide a list of names of seven (7) potential arbitrators from
        which the two sides (Claimant on one side and all Respondents on the other side) shall
        alternatively strike names until only one name remains, with the Claimant striking first;

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        and (iii) for an arbitration to be heard by three (3) arbitrators, the AAA shall provide a list
        of names of eleven (11) potential arbitrators from which the two sides shall alternatively
        strike names until only one name remains, with the Claimant striking first.

                 (d)    Location and Administration of Arbitration. The arbitration proceedings
        shall be held in Colorado Springs, Colorado or at such other place as may be selected by
        mutual agreement of the parties. A Claimant may initiate arbitration by serving a
        demand for arbitration on the Committee and, if applicable, the Trustee and by filing such
        demand for arbitration with the appropriate office of the AAA. In order to save time and
        expenses, the parties may agree to have the arbitrator(s), and not the AAA, administer the
        arbitration. In the absence of such an agreement, however, the AAA will administer the
        arbitration.

                (e)    Limitation on Actions. Any Covered Claim must be submitted to
        arbitration within the earlier of the applicable statutory period of limitations or three (3)
        years of the date on which it accrued or shall be ban-ed as untimely; provided, however,
        any Covered Claim under ERISA § 502(a)(l)(B) for a denial of benefits shall be deemed
        to have accrued on the date the Committee's final denial is issued under the Plan's claims
        procedure, and any demand for arbitration involving such a claim shall be served on the
        Committee and, if applicable, Trustee, and filed with the AAA within twelve (12) months
        of the date on which the denial of claim is issued by the Committee.

                 (f)     Arbitrator's Standard of Review. The arbitrator(s)'s review of the
        Committee's claim denial shall be limited to a review of the administrative record as
        submitted to the Committee, and the Committee's determination may only be overturned
        if the arbitrator(s) determines that the Committee's decision was arbitrary and capricious.
        Subject to that limitation, the arbitrator(s) shall have the discretion to order such
        discovery as permitted under the National Rules for the Resolution of Employment
        Disputes of the AAA. All disputes regarding discovery shall be decided by the
        arbitrator(s).

                (g)     Arbitration Award. The arbitration award shall be in writing. In rendering
        the award, the arbitrator(s) shall determine the respective rights and obligations of the
        parties under federal law, or, if federal law is not applicable, the laws of the State of
        Colorado. The arbitration award shall be binding on all parties solely with respect to the
        Claimant's individual claims, and it shall have no effect with respect to claims of any
        other Participant or Beneficiary. To the fullest extent permitted by law, no application or
        appeal to any court of competent jurisdiction may be made in connection with any
        question of law arising in the course of arbitration pursuant to this arbitration agreement
        or with respect to any award, except as to the Class Action Waiver or for actions relating
        to enforcement of this Arbitration Procedure or any award seeking interim or other
        provisional relief or remedies in aid of arbitration.

                (h)     Fees and Expenses. Except as may be awarded by the arbitrator(s) in a
        final award: (i) the fees and expenses of the arbitrator(s) and arbitration shall be advanced
        by the Primary Sponsor; and (ii) each party shall bear the expense of his, her or its own
        counsel, experts, witnesses, and preparation and presentation of evidence.                The


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         arbitrator(s) may include in his, her, or their final award an award of arbitration fees and
         expenses and/or attorneys' fees and expenses to the extent allowed under ERISA.
         Hovv:ever, if any party prevails on a statutory claim that entitles the prevailing party to
         attorneys' fees and costs, or if there is a written agreement between the parties providing
         for attorneys' fees and costs, the arbitrator(s) may award reasonable attorneys' fees and
         costs in accordance with the applicable statute or written agreement. In that event, the
         arbitrator(s) shall resolve any dispute as to the reasonableness of any fee or cost that may
         be awarded.

                 (i)     Confidentiality. Neither the Claimant nor the arbitrator(s) may disclose
         the existence, content, subject matter, or results of any arbitration proceeding without the
         prior written consent of the Primary Sponsor. This nondisclosure provision shall apply to
         all aspects of the arbitration proceeding, including without limitation, discovery,
         testimony, other evidence, briefs, and the award. In the event of a breach or threatened
         breach of this confidentiality provision, the Primary Sponsor may seek temporary,
         preliminary and/or permanent injunctive relief to prevent such breach or threatened
         breach, as well as any damages suffered by the Primary Sponsor, Plan Administrator, or
         Trustee. In the event the Primary Sponsor brings an action to enforce this confidentiality
         provision and receives any remedy (whether temporary or permanent), the Claimant or
         arbitrator responsible .for the breach or threatened breach shall pay the Primary Sponsor's
         attorneys' fees and expenses. In any action to confirm or set aside the arbitration award,
         the parties shall cooperatively seek to file the arbitration award under seal or for an in
         camera inspection by the court without the award being filed in the public record.

                 G)      Arbitrator Independence. The parties intend that the arbitrator(s) be
         independent and impartial. To this end, the arbitrator(s) shall disclose to the parties, both
         before and during the arbitration proceedings, any professional, family, or social
         relationships, past or present, with any party or counsel.

                 (k)     Applicable Law. This Arbitration Procedure shall be governed and
         enforced under ERISA, the Federal Arbitration Act ("FAA"), 91J.S.C. § 1, et seq., and,
         to the extent that it does not conflict with ERISA or the FAA, applicable state law. The
         final award rendered by the arbitrator(s) shall be final and binding on the parties to the
         arbitration with respect to the Claimant's individual claims only.

                 (1)    Covered Claims Against Non-Fiduciaries. This Arbitration Procedure
         shall apply to all Covered Claims asserted by a Claimant, whether such Covered Claims
         are asserted solely against one or more of the Plan's fiduciaries or are also asserted
         against the Primary Sponsor or any other non-fiduciary (e.g., a Plan service provider). ·

          21.2 Restriction on Venue. If a Claimant wishes to pursue any Covered Claim, that
  Claimant shall comply with the ATbitration Procedi.ire, set forth in this Section 21 of the Plan,
  and shall not file any such claim in a state or federal court. To the extent, however, any Claimant
  fails or refuses to comply with the Arbitration Procedure, wishes to challenge the legal
  enforceability of the Arbitration Procedure, or to the extent the Arbitration Procedure is
  invalidated, such action or challenge shall be filed exclusively in the United States District Court
  for the District of Colorado, which is where the Plan is administered. In the event a Claimant


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  makes an unsuccessful challenge to the validity, enforceability or scope of the Arbitration
  Procedure in any court, the Claimant shall, to the maximum extent permitted by law, reimburse
  the defendants in that action for all attorneys' fees, costs, and expenses incurred by them in
  defending against the Claimant's unsuccessful court challenge.

                                  SECTION22
                      INCORPORATION OF SPECIAL LIMITATIONS

          Appendices A, B, and C to the Plan, attached hereto, are incorporated by reference and
  the provisions of the same shall apply notwithstanding anything to the contrary contained
  herein.




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          IN WITNESS WHEREOF, the Primary Sponsor has caused this indenture to be
   executed as of the date first above written.




         [Signature Page to Envision Management Holding, Inc; ESOP Plan Effective September 1, 2017]
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                                       APPENDIX A
                               LIMITATION ON ALLOCATIONS

                                            SECTION 1

           The "annual addition" for any Participant for any one limitation year may not exceed
   the lesser of.

                 (a)    $54,000, as adjusted under Code Section 415(d); or

                 (b)    100% of the Participant's Annual Compensation (as modified by this
         Appendix A).

           The limit described in Subsection (b) shall not apply to any contribution for medical
   benefits after a separation from service (within the meaning of Code Section 40l(h) or
   419A(f)(2)) which is otherwise treated as an annual addition.

           Notwithstanding the foregoing, at such times as the Primary Sponsor does not maintain
   an effective election under Subchapter S of the Code, if no more than one-third (1/3) of the
   Plan Sponsor contributions to the Plan for the limitation year which are deductible under Code
   Section 404(a)(9) are allocated to Highly Compensated Employees, the annual addition shall
   not include forfeitures of Company Stock acquired with the proceeds of an Acquisition Loan or
   Plan Sponsor contributions applied to the payment of interest on an Acquisition Loan.
   Furthermore, the amount of any qualified gratuitous transfer (as defined in Code Section
   664(g)(l)) allocated to a Participant for any limitation year is not taken into account in
   determining whether any other annual addition exceeds the limitations imposed by Code
   Section 415, provided that the amount of the qualified gratuitous transfer does not exceed the
   limitations imposed by Code Section 415.

                                            SECTION2

          For the purposes of this Appendix A, the term "annual addition" for any Participant
   means for any limitation year, the sum of certain Plan Sponsor contributions and forfeitures to
   the Plan, Participant contributions to any individual medical account (as defined in Code
   Section 415(1)(2) or 419A(d)) which is part of the Plan, and other amounts as determined in
   Code Section 415(c)(2) in effect for that limitation year. Participant contributions shall be
   determined without regard to rollover amounts, employee contributions to a simplified
   employee pension which are excludable from gross income under Code Section 40l(k)(6), and
   catch up contributions as described in Code Section 414(v).

          If an Acquisition Loan has been made to the Plan, annual additions for a limitation year
   include Plan Sponsor contributions of both principal and interest used to repay the Acquisition
   Loan for the limitation year. Notwithstanding the foregoing, the Fair Market Value of the
   shares of Company Stock released from the Loan Suspense Account and allocated to the
   Company Stock Subaccounts of Plan Participants' ESOP Accounts for the limitation year may
   be used in calculating annual additions, in lieu of Plan Sponsor contributions used to repay an
   Acquisition Loan, if the Fair Market Value of the shares of Company Stock released from the


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  Loan Suspense Account is less than Plan Sponsor contributions used to repay the Acquisition
  Loan.

                                           SECTION3

         For purposes of this Appendix A, the term "limitation year" shall mean a Plan Year.

                                           SECTION 4

          For purposes of this Appendix A, "Annual Compensation" shall include compensation
  paid to the Participant by the later of (i) 2'li months after the Participant's severance from
  employment with the Plan Sponsor, or (ii) the end of the limitation year that includes the date
  of the Participant's severance from employment with the Plan Sponsor, if such compensation is
  regular compensation for services during the Participant's regular working hours, or
  compensation for services outside the Participant's regular working hours (such as overtime
  and shift differential), commissions, bonuses, or other similar payments, and the compensation
  would have been paid to the Participant prior to a severance from employment if the Participant
  had continued in employment with the Plan Sponsor. Annual Compensation shall include
  compensation paid after a Participant's severance from employment if the payment is for
  unused bona fide sick, vacation, or other leave (but only ifthe Participant would have been able
  to U$e the leave if employment had continued) or the payment is received by a Participant
  pursuant to a nonqualified unfunded deferred compensation plan (but only if the payment
  would have been paid to the Participant at the same time if the Participant had continued in
  employment with the Plan Sponsor and only to the extent that the payment is includible in the
  Participant's gross income).

                                           SECTIONS

          For purposes of applying the limitations of this Appendix A, all defined contribution
  plans maintained or deemed to be maintained by a Plan Sponsor shall be treated as one defined
  contribution plan. In the event any corrective actions are required to be taken with respect to
  this Plan or with respect to another defined contribution plan pursuant to any program
  described in Section 13.9 of the Plan as a result of the annual additions of a Participant
  exceeding the limitations set forth in Section 1 of this Appendix A and Code Section 415,
  because of the Participant's participation in more than one defined contribution plan, such
  actions shall be taken first with regard to this Plan.

                                           SECTION6

         The provisions of this Appendix A shall be construed in a manner consistent with the
  prov1s10ns of final Treasury Regulations issued under Code Section 415 and any successor
  guidance.




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                                        APPENDIXB
                                   TOP-HEAVY PROVISIONS

                                            SECTION 1

         As used in this Appendix B, the following words shall have the following meanings:

         (a)    "Determination Date" means, with respect to any Plan Year, the last day of the
  preceding Plan Year, or, in the case of the first Plan Year, means the last day of the first Plan
  Year.

         (b)     "Key Employee" means an Employee or former Employee (including a
  Beneficiary of a Key Employee or former Key Employee) who at any time during the Plan Year
  containing the Determination Date was:

                (1)      an officer of the Plan Sponsor or any Affiliate whose Annual
        Compensation was greater than $175,000 (as adjusted for changes in the cost ofliving as
        provided in regulations issued by the Secretary of the Treasury) for the calendar year in
        which the Plan Year ends, where the term "officer" means an administrative executive in
        regular and continual service to the Plan Sponsor or an Affiliate; provided, however, that
        in no event shall the number of officers exceed the lesser of: (A) fifty (50) employees; or
        (B) the greater of: (I) three (3) employees; or (II) ten percent (10%) of the number of
        Employees during the Plan Year, with any non-integer being increased to the next integer.
        If for any year, no officer of the Plan Sponsor meets the requirements of this subparagraph
        (1), the highest paid officer of the Plan Sponsor for the Plan Year shall be considered an
        officer for purposes of this subparagraph (1);

               (2)      an owner of more than five percent (5%) of the outstanding stock of the
        Plan Sponsor or an Affiliate or more than five percent (5%) of the total combined voting
        power of all stock of the Plan Sponsor or an Affiliate; or

               (3)     an owner of more than one percent (1 %) of the outstanding stock of the
        Plan Sponsor or an Affiliate or more than one percent (1 % ) of the total combined voting
        power of all stock of the Plan Sponsor or an Affiliate, and who in such Plan Year had
        Annual Compensation from the Plan Sponsor and all of its Affiliates of more than
        $150,000.

           For purposes of determining ownership under Subsections (2) and (3) above, the rules set
  forth in Code Section 318(a)(2) shall be applied as follows: (i) in the case of any Plan Sponsor or
  Affiliate which is a corporation, by substituting five percent (5%) for fifty percent (50%); and,
  (ii) in the case of any Plan Sponsor or Affiliate which is not a corporation, ownership shall be
  determined in accordance with Treasury Regulations which shall be based on principles similar
  to the principles of Code Section 318 (modified as described in clause (i) above).

        Employees other than Key Employees are sometimes referred to in this Appendix B as
  "non-key employees."

         (c)     "Required Aggregation Group" means:

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              (1)     each plan of the Plan Sponsor and its Affiliates which qualifies under
        Code Section 40l(a) in which a Key Employee is a participant, and

               (2)    each other plan of the Plan Sponsor and its Affiliates which qualifies
        under Code Section 401(a) and which enables any plan described in Paragraph (1) of this
        Subsection to meet the requirements of Code Section 401(a)(4) or 410.

        (d)     (1)    "Top-Heavy" means:

                        (A)    if the Plan is not included in a Required Aggregation Group, the
                Plan's condition in a Plan Year for which, as of the Determination Date:

                              (i)     the present value of the cumulative Accounts under the
                       Plan for all Key Employees exceeds sixty percent (60%) of the present
                       value of the cumulative Accounts under the Plan for all Participants; and

                              (ii)    the Plan, when included in every potential combination, if
                       any, with any or all of:  ·

                                     (a)        any Required Aggregation Group, and

                                     (b)     any plan of the Plan Sponsor which is not part of
                              any Required Aggregation Group and which qualifies under Code
                              Section 401(a)

                      is part of a Top-Heavy Group (as defined m Paragraph (2) of this
               Subsection); and

                        (B)    if the Plan is included in a Required Aggregation Group, the
                Plan's condition in a Plan Year for which, as of the Determination Date:

                              (i)      the Required Aggregation Group is a Top-Heavy Group
                       (as defined in Paragraph (2) of this Subsection); and

                              (ii)   the Required Aggregation Group, when included in every
                       potential combination, if any, with any or all of the plans of the Plan
                       Sponsor and its Affiliates. which are not part of the Required Aggregation
                       Group and which qualify under Code Section 401(a), is part of a Top-
                       Heavy Group (as defined in Paragraph (2) of this Subsection).

                       (C)      For . purposes of Subparagraphs (A)(ii) and (B)(ii) of this
                Paragraph (1 ), any combination of plans must satisfy the requirements of Code
                Sections 401(a)(4) and 410.

                (2)    A group shall be deemed to be a Top-Heavy Group if:




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                      (A)    the suni, as of the Determination Date, of the present value of the
               cumulative accrued benefits for all Key Employees under all plans included in
               such group exceeds

                       (B)     sixty percent (60%) of a similar sum determined for all
               participants in such plans.

               (3)     (A)    For purposes of this Section, the present value of the accrued
               benefit for any participant in a defined contribution plan as of any Determination
               Date or last day of a plan year shall be the sum of:

                              (i)     as to any defined contribution plan other than a simplified
                      employee pension, the· account balance as of the most recent valuation
                      date occurring within the plan year ending on the Determination Date or
                      last day of a plan year,

                            (ii)    as to any simplified employee pens10n, the aggregate
                      employer contributions, and

                             (iii)   an adjustment for contributions due as of the Determination
                      Date or last day of a plan year.

               In the case of a plan that is not subject to the minimum funding requirements of
               Code Section 412, the adjustment in Clause (iii) of this Subparagraph (A) shall be
               the amount of any contributions actually made after the valuation date but on or
               before the Determination Date or. last day of the plan year to the extent not
               included under Clause (i) or (ii) of this Subparagraph (A). However, in the first
               plan year of the plan, the adjustment in Clause (iii) of this Subparagraph (A) shall
               also reflect the amount of any contributions made thereafter that are allocated as
               of a date in such first plan year. In the case of a plan that is subject to the
               minimum funding requirements,. the account balance in Clause (i) and the·
               aggregate contributions in Clause (ii) of this Subparagraph (A) shall include
               contributions that would be allocated as of a date not later than the Determination
               Date or last day of a plan year, even though those amounts are not yet required to
               be contributed, and the adjustment in Clause (iii) of this Subparagraph (A) shall
               be the amount of any contribution actually made (or due to be made) after the
               valuation date but before the expiration of the extended payment period in Code
               Section 412(c)(10) to the extent not included under Clause (i) or (ii) of this
               Subparagraph (A).

                       (B)     For purposes of this Subsection, the present value of the accrued
               benefit for any participant in a defined benefit plan as of any Determination Date
               or last day of a plan year must be determined as of the most recent valuation date
               which is within a 12-month period ending on the Determination Date or last day
               of a plan year as if such participant terminated as of such valuation date;
               provided, however, that in the first plan year of a plan, the present value of the
               accrued benefit for a current participant must be determined either (i) as if the


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               participant terminated service as of the Determination Date or last day of a plan
               year or (ii) as if the participant terminated service as of such valuation date, but
               taking into account the estimated accrued benefit as of the Determination Date or
               last day of a plan year. For purposes of this Subparagraph (B) the valuation date
               must be the same valuation date used for computing plan costs for minimum
               funding, regardless of whether a valuation is performed that year. The actuarial
               assumptions utilized in calculating the present value of the accrued benefit for any
               participant in a defined benefit plan for purposes of this Subparagraph (B) shall be
               established by the Plan Administrator after consultation with the actuary for the
               plan, and shall be reasonable in the aggregate and shall compmi with the
               requirements set forth by the Internal Revenue Service in Q&A T-26 and T-27 of
               Treasury Regulation Section 1.416-1.

                       (C)     For purposes of determining the present value of the cumulative
               accrued benefit under a plan for any Participant in accordance with this
               Subsection, the present value shall be increased by the aggregate distributions
               made with respect to the Participant (including distributions paid on account of
               death to the extent they do not exceed the present value of the cumulative accrued
               benefit existing immediately 'prior to death) under each plan being considered and
               under any terminated plan which if it had not been terminated would have been in
               a Required Aggregation Group with the Plan during the one-year period ending
               on the Determination Date or the last day of the Plan Year that falls within the
               calendar year in which the Determination Date falls. In the case of a distribution
               made for a reason other than severance from employment, death, or disability, this
               prov1s10n shall be applied by substituting "five-year period" for "one-year
               period."

                       (D)    For purposes of this Paragraph (3), participant contributions which
               are deductible as "qualified retirement contributions" within the meaning of Code
               Section 219 or any successor, as adjusted to reflect income, gains, losses, and
               other credits or charges attributable thereto, shall not be considered to be part of
               the accrued benefits under any plan.

                      (E)     For purposes of this Paragraph (3), if any employee is not a Key
               Employee with respect to any plan for any plan year, but such employee was a
               Key Employee with respect to such plan for any prior plan year, any accrued
               benefit for such employee shall not be taken into account.

                       (F)    For purposes of this Paragraph (3), if any Employee has not
               performed any service for the Plan Sponsor or Affiliate during the one-year period
               ending on the Determination Date, any accrued benefit for that Employee shall
               not be taken into account.

                      (G)    (i)    In the case of an "unrelated rollover" (as defined below)
                      between plans which qualify under Code Section 401(a), (a) the plan
                      providing the distribution shall count the distribution as a distribution
                      under Subparagraph (C) of this Paragraph (3), and (b) the plan accepting


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                        the distribution shall not consider the distribution part of the accrued
                        benefit under this Section; and

                                (ii)    in the case of a "related rollover" (as defined below)
                        between plans which qualify under Code Section 401(a), (a) the plan
                        providing the distribution shall not count the distribution as a distribution
                        under Subparagraph (C) of this Paragraph (3), and (b) the plan accepting
                        the distribution shall consider the distribution part of the accrued benefit
                        under this Section.

                For purposes of this Subparagraph (G), an "umelated rollover" is a rollover as
                defined in Code Section 402(c)(4) or 408(d)(3) or a plan-to-plan transfer which
                is both initiated by the participant and made from a plan maintained by one
                employer to a plan maintained by another employer where the employers are not
                Affiliates. For purposes of this Subparagraph (G), a "related rollover" is a
                rollover as defined in Code Section 402(c)(4) or 408(d)(3) or a plan-to-plan
                transfer which is either not initiated by the participant or made to a plan
                maintained by the employer or an Affiliate.

                                            SECTION2

          (a)     Notwithstanding anything contained in the Plan to the contrary, except as
  otherwise provided in Subsection (b) of this Section, in any Plan Year during which the Plan is
  Top-Heavy, allocations of Plan Sponsor contributions and forfeitures for the Plan Year for the
  Account of each Participant who is not a Key Employee and who has not separated from
  service with the Plan Sponsor prior to the end of the Plan Year shall not be less than three
  percent (3%) of the Participant's Annual Compensation. For purposes of this Subsection, an
  allocation to a Participant's Account resulting from any Plan Sponsor contribution attributable
  to a salary reduction or similar arrangement shall not be taken into account.

          (b)    (1)     The percentage referred to in Subsection (a) of this Section for any Plan
  Year shall not exceed the percentage at which allocations are made or required to be made
  under the Plan for the Plan Year for the Key Employee for whom the percentage is highest for
  the Plan Year. For purposes of this Paragraph, an allocation to the Account of a Key Employee
  resulting from any Plan Sponsor contribution attributable to a salary reduction or similar
  agreement shall be taken into account.

              (2)     For purposes of this Subsection (b ), all defined contribution plans which
        are members of a Required Aggregation Group shall be treated as part of the Plan.

               (3)      This Subsection (b) shall not apply to any plan which is a member of a
        Required Aggregation Group if the plan enables a defined benefit plan which is a
        member of the Required Aggregation Group to meet the requirements of Code Section
        401(a)(4) or 410.




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                                   APPENDIXC
                       MINIMUM DISTRIBUTION REQUIREMENTS

                                         SECTION 1
                                       GENERAL RULES

               (a)    Effective Date and Precedence. The provisions of this Appendix C will
        apply for purposes of determining required minimum distributions. The requirements of
        this Appendix C will take precedence over any inconsistent provisions of the Plan.

               (b)    Requirements of Treasury Regulations Incorporated. All distributions
        required under this Appendix C will be determined and made in accordance with the
        Treasury Regulations under Code Section 40l(a)(9).

                (c)   TEFRA Section 242(b)(2) Elections.         Notwithstanding the other
        provisions of this Appendix C, distributions may be made under a designation made
        before January 1, 1984, in accordance with Section 242(b)(2) of the Tax Equity and
        Fiscal Responsibility Act (TEFRA) and the provisions of the Plan that relate to Section
        242(b)(2) of TEFRA.

                                     SECTION2
                          TIME AND MANNER OF DISTRIBUTION

                (a)     Required Beginning Date. The Participant's entire interest will be
        distributed, or begin to be distributed, to the Participant no later than the Participant's
        Required Beginning Date.

                (b)     Death of Participant Before Distributions Begin. If the Participant dies
        before distributions begin, the Participant's entire interest will be distributed, or begin to
        be distributed, no later than as follows:

                       (1)   If the Participant's surv1vmg Spouse is the Participant's sole
               Designated Beneficiary, then, distributions to the surviving Spouse will begin by
               December 31 of the calendar year immediately following the calendar year in
               which the Participant died, or by December 31 of the calendar year in which the
               Participant would have attained age 70Yz, iflater.

                       (2)    If the Participant's surviving Spouse is not the Participant's sole
               Designated Beneficiary, then, distributions to the Designated Beneficiary will
               begin by December 31 of the calendar year immediately following the calendar
               year in which the Participant died.

                       (3)    If there is no Designated Beneficiary as of September 30 of the
               year following the year of the Participant's death, the Participant's entire interest
               will be distributed by December 31 of the calendar year containing the fifth
               anniversary of the Participant's death.


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                       (4)    If the Participant's surv1vmg Spouse is the Participant's sole
               Designated Beneficiary and the surviving Spouse dies after the Participant but
               before distributions to the surviving Spouse begin, this Section 2(b), other than
               Section 2(b)(1) of this Appendix C, will apply as if the surviving Spouse were the
               Participant.

                For purposes of this Section 2(b) and Section 4 of this Appendix C, unless Section
        2(b)(4) of this Appendix C applies, distributions are considered to begin on the
        Participant's Required Beginning Date. If Section 2(b) of this Appendix C applies,
        distributions are considered to begin on the date distributions are required to begin to the
        surviving Spouse under Section 2(b)(1) of this Appendix C. If distributions under an
        annuity purchased from an insurance company irrevocably commence to the Participant
        before the Participant's Required Beginning Date (or to the Participant's surviving
        Spouse before the date distributions are required to begin to the surviving Spouse under
        Section 2(b)(l)), the date distributions are considered to begin is the date distributions
        actually commence.

                (c)     Forms of Distribution. Unless the Participant's interest is distributed in
        the form of an annuity purchased from an insurance company or in a single sum on or
        before the Required Beginning Date, as of the first Distribution Calendar Year,
        distributions will be made in accordance with Sections 3 and 4 of this Appendix C. If the
        Participant's interest is distributed in the form of an annuity purchased from an insurance
        company, distributions thereunder will be made in accordance with the requirements of
        Code Section 401(a)(9) and the regulations issued thereunder.


                             SECTION3
    REQUIRED MINIMUM DISTRIBUTIONS DURING PARTICIPANT'S LIFETIME

                (a)     Amount of Required Minimum Distribution For Each Distribution
        Calendar Year. During the Participant's lifetime, the minimum amount that will be
        distributed for each Distribution Calendar Year is the lesser of:

                       (1)     the quotient obtained by dividing the Participant's Account
               Balance by the distribution period in the Uniform Lifetime Table set forth in
               Section l.40l(a)(9)-9 of the Treasury Regulations, using the Participant's age as
               of the Participant's birthday in the Distribution Calendar Year; or

                       (2)     if the Participant's sole Designated Beneficiary for the Distribution
               Calendar Year is the Participant's Spouse, the quotient obtained by dividing the
               Participant's Account Balance by the number in the Joint and Last Survivor Table
               set forth in Section 1.401(a)(9)-9 of the Treasury Regulations, using the
               Participant's and Spouse's attained ages as of the Participant's and Spouse's
               birthdays in the Distribution Calendar Year.



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                (b)    Lifetime Required Minimum Distributions Continue Through Year of
        Participant's Death. Required minimum distributions will be determined under this
        Section 3 beginning with the first Distribution Calendar Year and up to and including the
        Distribution Calendar Year that includes the Participant's date of death.


                              SECTION 4
       REQUIRED MINIMUM DISTRIBUTIONS AFTER PARTICIPANT'S DEATH

               (a)    Death On or After Date Distributions Begin.

                      (1)      Participant Survived by Designated Beneficiary. If the Participant
               dies on or after the date distributions begin and there is a Designated Beneficiary,
               the minimum amount that will be distributed for each Distribution Calendar Year
               after the year of the Participant's death is the quotient obtained by dividing the
               Participant's Account Balance by the longer of the remaining Life Expectancy of
               the Participant or the remaining Life Expectancy of the Participant's Designated
               Beneficiary, determined as follows:

                             (i)    The Participant's remaining Life Expectancy is calculated
                      using the age of the Participant in the year of death, reduced by one for
                      each subsequent year.

                              (ii)    If the Participant's surv1vmg Spouse is the Participant's
                      sole Designated Beneficiary, the remaining Life Expectancy of the
                      surviving Spouse is calculated for each Distribution Calendar Year after
                      the year of the Participant's death using the surviving Spouse's age as of
                      the Spouse's birthday in that year. For Distribution Calendar Years after
                      the year of the surviving Spouse's death, the remaining Life Expectancy of
                      the surviving Spouse is calculated using the age of the surviving Spouse as
                      of the Spouse's birthday in the calendar year of the Spouse's death,
                      reduced by one for each subsequent calendar year.

                             (iii)   If the Participant's surviving Spouse is not the Participant's
                      sole Designated Beneficiary, the Designated Beneficiary's remaining Life
                      Expectancy is calculated using the age of the Designated Beneficiary in
                      the year following the year of the Participant's death, reduced by one for
                      each subsequent year.

                       (2)     No Designated Beneficiary. If the Participant dies on or after the
               date distributions begin and there is no Designated Beneficiary as of September
               30 of the year after the year of the Participant's death, the minimum amount that
               will be distributed for each Distribution Calendar Year after the year of the
               Participant's death is the quotient obtained by dividing the Participant's Account
               Balance by the Participant's remaining Life Expectancy calculated using the age
               of the Participant in the year of death, reduced by one for each subsequent year.

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                (b)     Death Before Date Distributions Begin.

                        (1)    Participant Survived by Designated Beneficiary. If the Participant
                dies before the date distributions begin and there is a Designated Beneficiary, the
                minimum amount that will be distributed for each Distribution Calendar Year
                after the year of the Participant's death is the quotient obtained by dividing the
                Participant's Account Balance by the remaining Life Expectancy of the
                Participant's Designated Beneficiary, determined as provided in Section 4(a).

                        (2)    No Designated Beneficiary. If the Participant dies before the date
                distributions begin and there is no Designated Beneficiary as of September 30 of
                the year following the year of the Participant's death, distribution of the
                Participant's entire interest will be completed by December 31 of the calendar
                year containing the fifth anniversary of the Participant's death.

                       (3)     Death of Surviving Spouse Before Distributions to Surviving
                Spouse Are Required to Begin. If the Participant dies before the date distributions
                begin, the Participant's surviving Spouse is the Participant's sole Designated
                Beneficiary, and the surviving Spouse dies before distributions are required to
                begin to the surviving Spouse under Section 2(b)(1) of this Appendix C, this
                Section (b) will apply as if the surviving Spouse were the Participant.

                                            SECTIONS
                                           DEFINITIONS

          As used in this Appendix C, the following words and phrases shall have the meaning set
  forth below:

                (a)    Designated Beneficiary. The individual who is designated as the
         Beneficiary under Section 1.6 of the Plan and is the designated Beneficiary under Section
         401(a)(9) of the Internal Revenue Code and Section l.40l(a)(9)-4, Q&A-1, of the
         Treasury Regulations.

                  (b)     Distribution Calendar Year. A calendar year for which a mimmum
         distribution is required. For distributions beginning before the Participant's death, the
         first distribution calendar year is the calendar year immediately preceding the calendar
         year which contains the Paiiicipant's Required Beginning Date. For distributions
         beginning after the Participant's death, the first distribution calendar year is the calendar
         year in which distributions are required to begin. under Section 2(b). The required
         minimum distribution for the Participant's first distribution calendar year will be made on
         or before the Paiiicipant' s Required Beginning Date. The required minimum distribution
         for other distribution calendar years, including the required minimum distribution for the
         distribution calendar year in which the Participant's Required Beginning Date occurs,
         will be made on or before December 31 of that distribution calendar year.



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               (c)     Life Expectancy. Life expectancy as computed by use of the Single Life
        Table in Section l.40l(a)(9)-9 of the Treasury Regulations.

                (d)     Participant's Account Balance. The Account balance as of the last
        Valuation Date in the calendar year immediately preceding the Distribution Calendar
        Year ("Valuation Calendar Year") increased by the amount of any contributions made
        and allocated or forfeitures allocated to the Account balance as of dates in the Valuation
        Calendar Year after the Valuation Date and decreased by distributions made in the
        Valuation Calendar Year after the Valuation Date. The Account balance for the
        Valuation Calendar Year includes any amounts rolled over or transferred to the Plan
        either in the Valuation Calendar Year or in the Distribution Calendar Year if distributed
        or transferred in the Valuation Calendar Year.

               (e)    Required Beginning Date. The date specified in Section 9.4 of the Plan.




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